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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


 CONNECTICUT        FAIR
                   HOUSING :
 CENTER et al.,            :
                           :                      No. 3:18-CV-705 (VLB)
     Plaintiffs,           :
                           :
     v.                    :                      August 7, 2020
                           :
 CORELOGIC RENTAL PROPERTY :
 SOLUTIONS, LLC,           :
     Defendant.            :
                           :

Memorandum of Decision on Motions for Summary Judgment [Dkts. 87, 112, 116]

      Plaintiffs Connecticut Fair Housing Center (“CFHC”) and Carmen Arroyo

(“Ms. Arroyo”), individually and as next friend for Mikhail Arroyo (“Mr. Arroyo”)

(collectively, “Plaintiffs”) bring the instant litigation against Defendant CoreLogic

Rental Property Solutions, LLC (“Defendant” or “RPS”) alleging that RPS violated

the Fair Housing Act, 42 U.S.C. §§ 3601 et seq. (“FHA”), the Connecticut Unfair

Trade Practice Act, Conn. Gen. Stat. §§ 42-110a et seq. (“CUTPA”) and the Fair

Credit Reporting Act, 15 U.S.C. §§ 1681 et seq. (“FCRA”).

      In April of 2016, Carmen Arroyo attempted to move her disabled son, Mikhail

Arroyo, for whom she was conservator, into her apartment complex ArtSpace

Windham, but his application was rejected. Two separate actions by defendant

CoreLogic Rental Property Solutions, LLC regarding that incident motivate the

instant lawsuit: first, CoreLogic RPS, through its CrimSAFE product, notified

apartment manager WinnResidential that “disqualifying records” were found for

Mr. Arroyo; second, RPS did not disclose Mr. Arroyo’s criminal records to Ms.


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Arroyo on behalf of Mr. Arroyo until the start of this litigation, despite her numerous

requests and provision of many documents.

         RPS has filed a Motion for Summary Judgment as to the entirety of the

action. [Dkts. 112 (Redacted Version) and 114 (Unredacted Version)]. Plaintiffs have

filed two separate Motions for Partial Summary Judgment: one as to their file

disclosure claims [Dkt. 87], and one to their race and national origin discrimination

FHA and CUTPA claims. [Dkts. 116 (Redacted Version) and 118 (Unredacted

Version)]. The parties have filed oppositions and replies for each motion. For the

following reasons, the Court grants in part and denies in part RPS’s motion for

summary judgment and denies Plaintiffs’ motions for partial summary judgment.

    I.      Material Facts1

    A. Parties

         Mikhail Arroyo is a Latino man. [Dkt. 118-1 (Pl.’s 56(a)1 Statement) ¶39]. Mr.

Arroyo is significantly disabled.      Id. ¶40.   His disabilities were caused by an

accident in July 2015. Id. ¶40. Mr. Arroyo was hospitalized until early 2016, when

he was transferred to a nursing home to continue to recover from his injuries. Ibid.




1 All facts are taken from the parties’ unredacted statements of undisputed facts
for the purposes of deciding these motions only. If a fact stated in one party’s
56(a)1 statement is admitted by the other party in its 56(a)2 statement and is
supported by the underlying exhibits, the Court cites to the statement in which the
fact first appeared. D. Conn. L. Civ. R. 56(a). For all other facts, the Court cites to
the underlying exhibit. The Court will issue an order on the parties’ motions to seal
in short order.


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The Connecticut Probate Court appointed Carmen Arroyo Mikhail Arroyo’s

conservator in August of 2015. 2,3.


      The Connecticut Fair Housing Center (“CFHC”) is a housing advocacy non-

profit. RPS is a national tenant screening company that offers tenant screening

products under the rubric of “Rental Property Solutions,” which it has described



2In Connecticut, a conservator may only be appointed in the following
circumstances:

      (f) (1) If the court finds by clear and convincing evidence that the
      respondent is incapable of managing the respondent's affairs, that the
      respondent's affairs cannot be managed adequately without the
      appointment of a conservator and that the appointment of a
      conservator is the least restrictive means of intervention available to
      assist the respondent in managing the respondent's affairs, the court
      may appoint a conservator of his or her estate after considering the
      factors set forth in subsection (g) of this section.

      (2) If the court finds by clear and convincing evidence that the
      respondent is incapable of caring for himself or herself, that the
      respondent cannot be cared for adequately without the appointment
      of a conservator and that the appointment of a conservator is the least
      restrictive means of intervention available to assist the respondent in
      caring for himself or herself, the court may appoint a conservator of
      his or her person after considering the factors set forth in subsection
      (g) of this section.

      (3) No conservator may be appointed if the respondent's personal
      needs and property management are being met adequately by an
      agency or individual appointed pursuant to section 1-43, 19a-575a,
      19a-577, 19a-580e or 19a-580g.

Conn. Gen. Stat. § 45a-650 (2015).
3 See [Dkt. 125-10 (Pls.’ Opp. to Def.’s Mot. Summ. J. Ex. 8: 6/14/16 Arroyo File

Disclosure) at 3]; [Dkt. 125-12 (Pls.’ Opp. to Def.’s Mot. Summ. J. Ex. 8: 11/15/16
Arroyo File Disclosure) at 5]. The Court finds that these documents themselves
would not be admissible evidence as they are not authenticated per Federal Rule
Evidence 901 and 902, but, per Federal Rule 56(c), they might point to the existence
of documents that would be admissible. Further, RPS has not disputed for the
purposes of this motion that Carmen Arroyo is Mikhail Arroyo’s conservator.
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as a “comprehensive leasing decision service to the single and multifamily

housing industry.” [Dkt. 114-1 (Def’s 56(a)1 Statement of Material Facts) ¶1]. One

of those products is “Registry CrimSAFE” (“CrimSAFE”). Id. ¶5. RPS provides this

service to managers of more than 120 properties in Connecticut. [Dkt. 118-1 ¶ 100].

      Though not a party, WinnResidential also plays a central role in this

litigation. It is one of the largest property management companies in the country.

[Dkt. 118-1 ¶29]. WinnResidential has used RPS’s screening products since 2008.

Id. ¶30. In 2016, WinnResidential managed ArtSpace Windham, an apartment

complex in Connecticut where Carmen Arroyo resided and applied for housing on

behalf of Mikhail Arroyo. Id. ¶41.

   B. CrimSAFE’s Role in Rental Housing Application Evaluations

      For each housing applicant, CrimSAFE filters and then categorizes any

identified crimes according to their severity levels under varying state and federal

law, as well as the type of crime. Id. ¶5. CrimSAFE then applies the leasing criteria

chosen by the housing provider from the menu offered by CrimSAFE to any records

found and informs the housing provider whether “disqualifying” records are found.

Id. ¶5. Disqualifying records consist of both convictions and other charges,

including arrests which have not led to a conviction. See [Dkt. 118-4 (Ex. 22 to Pl.’s

Mot. Summ. J.].

      To use CrimSAFE, a landlord fills out a short electronic form, generated by

RPS, that lists general categories of crimes for which CrimSAFE can screen. [Dkt.

118-1 ¶8]. A landlord establishes the leasing criteria by selecting from the list the

crimes which it wants CrimSAFE to screen. Id. These criminal categories track

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verbatim those created by the FBI’s National Incident Based Reporting System.

[Dkt. 129-1 (Def.’s 56(a)2 Statement of Facts) ¶8]. For each criminal category, the

landlord enters the maximum number of years back CrimSAFE should look “to

decline an applicant for the specified type of crime” (hereinafter, “lookback

period”). [Dkt. 118-1 ¶8]. The CrimSAFE configuration webpage explains that

“applicants whose criminal record[s] are older than the number of years for the

specified crime will result in an accept for your community.” Id. The maximum

lookback periods are 99 years for convictions and 7 years for non-convictions. Id.

¶ 11.

        When a landlord receives a rental application, it provides RPS the applicant’s

first and last name, date of birth, and current address (and optionally the middle

name). [Dkt. 118-1 ¶14]. RPS then searches its database for criminal records that

match the applicant. Ibid. If a criminal record is matched to the applicant, RPS

determines the category, if the record is felony or not, and if conviction or not. Id.

¶16.4 After locating and categorizing a record that has been matched to the

applicant, RPS compares the age of the record with the lookback period for the

given category. Id. ¶17. If the applicant has a record within the landlord’s chosen




   4 If the offense has been categorized in the past and appended to a master
offense table, this process is fully automated. Ibid. If the offense’s category has not
been appended to the master table, it is placed in a queue to be manually
categorized. Ibid. All offenses categorized in the master offense table have been
manually processed by employees and/or contractors of CoreLogic. Ibid. The RPS
database reflects records obtained from more than 800 different
jurisdictions/sources, for a total of more than 579 million records spanning more
than 10 million unique offense descriptions, which RPS has decades of experience
in standardizing and integrating into its database. [Dkt. 114-1 at ¶16].

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category and lookback period, CrimSAFE notifies the leasing agent of disqualifying

“record(s) found,” and directs the housing provider to “proceed with their

communities screening policies.” Id. ¶19.

      In 2016, the period at issue here, the cover page of the RPS’s screening

report for leasing agents was titled “Lease Decision,” and listed a “Crim Decision,”

which tracked the CrimSAFE result, and stated “Record(s) Found” if disqualifying

records were found. Id. ¶ 20; see [Dkt. 114-2 (Kayani Decl.) at Ex. C (Leasing Agent

Version of Arroyo Background Screening Report)].

      RPS has marketed and sold CrimSAFE as rendering a decision on an

applicant’s suitability for tenancy based on their criminal history. [Dkt. 118-1 at ¶5].

It has described the removal of “human bias or judgment” as a “benefit” of its

CrimSAFE product. Id. at ¶6. In configuration instructions it has provided, it states,

“A criminal record generally contains information on the type of crime, degree and

level of crime, and date of offense. With CrimSAFE, this public record information

is evaluated and used to provide a decision based on the client’s pre-determined

criminal decision policy.” Id. at ¶9.

       RPS allows CrimSAFE customers to disclose or suppress information

underlying disqualification from its staff and housing applicants. Id. ¶ 26. If a

customer chooses to suppress disclosure of the underlying criminal record from

its onsite leasing staff, they see only whether disqualifying records are found or

not. Id. ¶ 26. Landlords have the option of having adverse action letters

automatically delivered to applicants via email when CrimSAFE has found



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disqualifying records in order to notify them that their applications have been

declined. Id. at ¶24.

      CrimSAFE is only one of RPS’s screening products: RPS also offers

separate tenant screening products which simply identify and return criminal

public records of a housing applicant to the housing provider, but which do not

themselves filter or categorize the results in any way. [Dkt. 114-2 (Kayani Decl.)

¶¶4-5].

      The parties provide conflicting evidence on whether CrimSAFE always

returns a copy of the underlying report that displays the full public data of an

applicant’s criminal record to someone at the client housing provider. RPS’s

executive Naeem Kayani declares that it does. [Dkt. 114-2 (Kayani Decl.) ¶7].

Plaintiffs point to a 2016 training which states that, if a housing provider unchecks

a box on the CrimSAFE configuration page, none of its users have access to the

reports containing the full public records. [Dkt. 118-3 (Ex. 13 to Pl.’s Mot. Summ.

J.: 2016 Training) at 37]; [Dkt. 118-4 [Ex. 22 to Pl.’s Mot. Summ. J.:          2016

Configuration Page Example)], [Dkt. 116-18 (Ex. 15 to Pl.’s Mot. Summ. J.: Thomas

Dep.) at 71-72].

      In its proposal to WinnResidential, RPS wrote that, with CrimSAFE, “criminal

record search results are evaluated using our own advanced, proprietary

technology and an accept/decline leasing decision is delivered to your staff.” Id.

at ¶33]. RPS’s proposal to WinnResidential explains that “[u]sers who choose to

have their rental decisions automated using ScorePLUS® and CrimSAFE® may

suppress the full reports from the view of their on-site staff. WinnResidential

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currently uses this option and the site managers view a decision report.” Id.at ¶

36.5 WinnResidential also does not disclose the basis for an applicant’s denial to

the applicant, except to inform them that the denial is based on RPS’s screening

report. See [Dkt. 114-2]. RPS serves many customers with affordable/subsidized

properties. [Dkt. 114-4 (Dachtler Decl.) ¶5]. For instance, the majority of Winn

Residential’s rental units are federally-subsidized/affordable properties. Id.

      Fewer than 7% of all rental housing applicants in Connecticut between 2016

and the present have had any “record found” through CrimSAFE. [Dkt. 118-1 ¶11].

   C. CrimSAFE, Race and Ethnicity, and Criminal Records

      CrimSAFE uses data from a national database of criminal records that RPS

aggregates from multiple sources, including incarceration records and court

records of criminal cases for both charges and convictions obtained from state

departments of corrections and administrative offices of the courts. [Dkt. 118-1

¶65]. RPS receives and records the race and ethnic background for close to 80%

of housing applicants who did match with a criminal record. [Dkt. 118-15 (Ex. 47 to

Pl.’s Mot. Summ. J.: RPS Documentation of Race)]). But RPS is not aware of the of

the race or ethnicity of housing applicants who did not match with such a criminal

record. [Dkt. 126-2 (Ex. 1 to Pl.’s Opp: Kayani Dep.) at 207:14-25].




      5As previously detailed, the parties dispute whether the full criminal records
are always delivered to someone at the client.



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      Data reveal that disparities adverse to African Americans and Latinos6 and

in favor of whites7 exist at all stages of the criminal justice process: in arrest rates,

in jail detention rates, and in prison incarceration rates. Id. ¶73. African Americans

in the United States are more than four times as likely as whites, and Latinos two-

and-a-half times as likely as whites, to have been either jailed or incarcerated at

some point in their lifetimes. [Dkt. 118-1 ¶72]. National data from 2015 demonstrate

that African Americans and Latinos are more likely to experience jail or prison

incarceration than Whites, regardless of income level. Id. ¶¶ 74-77. The disparity in

incarceration rates for African Americans in Connecticut is just over twice the

disparity at the national level, while for Latinos in Connecticut, the disparity is three

times the disparity at the national level. Id. ¶ 80. Overall, 10.61% of African

Americans nationally experience either jail or prison during their lifetime. Id. ¶ 81.

Among African Americans who were earning less than $30,000 in 2015, 14.34%

nationally had been in jail or prison in their lifetime. Id. ¶ 82.

      The above data do not distinguish between innocent individuals who have

been charged but not convicted of a crime and guilty individuals who have been

convicted of committing a crime. The Court takes judicial notice of shorter-term

data that confirm that disparities exist both for individuals who are jailed and for

individuals who are imprisoned, though the disparity in imprisonment rates is



6 The Court follows the Plaintiffs in using the term “Latinos” as a noun to refer to a
group of people of Latin American family origin that includes at least one person
who does not identify as female.
7 The term “white” is here used to refer to non-Latino whites and the term African-

American is here used to refer to non-Latino African-Americans, except where
otherwise noted.


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greater. At year-end in 2015 in the United States, 169 in 100,000 white adults were

incarcerated in jails, 174 in 100,000 Latino adults were incarcerated in jails, and 607

in 100,000 African American adults were incarcerated in jails.8 Zhen Zeng, Jail

Inmates in 2016, Bureau of Justice Statistics (Feb. 2018), at Table 2, available at

https://www.bjs.gov/content/pub/pdf/ji16.pdf; see Fed. R. Evid. 201(b)-(c). Also at

year-end in 2015 in the United States, 312 in 100,000 whites were imprisoned for

sentences of more than 1 year, 820 in 100,000 Latino adults were imprisoned were

imprisoned for sentences of more than one year, and 1,745 in 100,000 African

American adults were imprisoned for sentences of more than one year. E. Ann

Carson and Elizabeth Anderson, Prisoners in 2015, Bureau of Justice Statistics at

2,        Figure          4         (Dec.          2016),         available          at

https://www.bjs.gov/index.cfm?ty=pbdetail&iid=5869.

      As to arrests, Latinos comprised 42% of federal drug arrests made in 2014,

nearly three times their share of the population. [Dkt. 118-1 ¶71]. 9 In total, 64% of


      8  The Court follows the Plaintiffs in using the term “Latino” as an adjective
when referring to a group of people of Latin American family origin that includes at
least one person who do not identify as female.
       9 Citing Mark Motivans, Bureau of Justice Statistics, U.S. Department of

Justice, Federal Justice Statistics, 2013-14, at 10 (March 2017),
https://www.bjs.gov/content/pub/pdf/fjs1314.pdf; 2014 ACS 1-year Demographic
Estimates. Defendants object that this data is irrelevant to the proposition for
which it is used, given that it is only specific to federal drug arrests, but the Court
finds that it is sufficiently relevant, as drug arrests were the second most common
federal arrest in 2014 after immigration. Motivans at 7. Further, accurate data on
overall arrests of Latinos from criminal justice institutions is limited, as
demonstrated below for Connecticut.
       Plaintiffs do not present national total arrest data, though Plaintiffs’ expert
Dr. Christopher Wildeman stated, that his certainty “would be extremely high” “that
the disparities [he] observed in the incarceration data also exist at the level of
arrest, charge and conviction” because “the transition probabilities from each
stage would have to be so much lower for Whites than for Native Americans and


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federal drug arrests were of Latinos and African Americans, who comprised 29%

of the total population. Id. Only 31% of federal drug arrestees were of whites, less

than half their share of the population. Id. African Americans and Latinos are more

likely than whites to be arrested, convicted, and sentenced for drug offenses even

though their rates of drug use are comparable to those of whites. Id.

      In 2016, African Americans comprised 29.88% of all arrestees in the State of

Connecticut. State of Connecticut Department of Emergency Services and Public

Protection, Crime in Connecticut at 29 (2016) (hereineafter “Crime in Connecticut

2016”).10 But, as of 2016, African Americans comprised only 10.6% of Connecticut’s

population. U.S. Census Bureau, 2016 American Community Survey 1-year

Estimates, Table DP05: ACS Demographic and Housing Estimates (hereinafter

“2016 ACS 1-Year DP05”).11 Connecticut does not track arrests by ethnicity, so the

percentage of arrestees who are Latinos is unknown (and Connecticut’s reported

numbers of arrestees who are African American and white includes Latino

arrestees). Id.

      The percentage of the population who is African American and the

percentage of the population who is Latino differs between Connecticut cities and




Hispanics and their starting rates of experiencing those events would have to be
so much higher that [non-disparities] would just be… a statistical aberration.” [Dkt.
116-46 (Wildeman Dep.) at 79:13-80:12].
10 Available at:
http://www.dpsdata.ct.gov/dps/ucr/data/2016/Crime%20in%20Connecticut%20201
6.pdf.
11 Available at data.census.gov. Reported figure has a 0.2% margin of error. An

additional 0.9% of the population reports being Black and White or Black and Native
American.
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Connecticut suburbs or rural areas and is higher for renters looking for affordable

or subsidized housing than for those who are not. [Dkt. 114-1 ¶¶56-57].

   D. CrimSAFE & the Purpose of Criminal Records

      RPS has identified the purposes served by CrimSAFE and its policies as

tenant safety and landlord liability avoidance. [Dkt. 114-1 at ¶89]. RPS states that

the purpose of its criminal records screening products is to protect safety and

property in housing complexes because “[c]riminals can disrupt –and even

endanger –the entire neighborhood.” Id. at ¶90. It claims that its products allow

housing providers to more rapidly and accurately screen applicants according to

the standards of the housing providers. Id. ¶¶13-14.

      The federal Bureau of Justice Statistics has found that 83% of released

prisoners are arrested again within 9 years, with an average of 5 arrests per

released prisoner. [Dkt. 114-1 ¶59]. The federal Bureau of Justice Statistics has

found that 18% of violent victimizations took place in the victim’s home, 16% took

place near the victim’s home, and 9% took place at a friend’s, neighbor’s, or

relative’s home. Id. ¶ 60.

      RPS’s proffered expert, Jay Kacirk, stated in a September 2019 deposition

that “information about arrest records that did not lead to convictions… would not

be relevant to the decision whether a [rental housing] applicant should be accepted

or rejected because we are not able to use arrest records to base an approval or

denial on.” [Dkt. 126 at 28] (citing [Dkt. 126-1 ¶74] (citing [Dkt. 125-14 (Ex. 12 to Pl.’s

Opp.: Kacirk Dep.) at 43:8-21])). He later stated that pending charges “could affect

the tenancy of someone on the verge of incarceration,” but reiterated that “you


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have to be careful using arrests as far as decision-making.” [Dkt. 132 (Ex. J to Ex.

4 to Def.’s Opp: Kacirk Dep.) at 294]. Dr. Lila Kazemian, one of Plaintiff’s proferred

experts, said that “anybody who has their name already in the system becomes

more likely to have more contacts with the criminal justice system,” such that

individuals who were previously arrested have elevated statistical levels of re-

arrest. [Dkt. 129-1 ¶14].

   E. CrimSAFE’s Role in Mikhail Arroyo’s April 2016 Rental Application Rejection

      On April 4, 2016, HUD’s Office of General Counsel published a document

titled “Application of Fair Housing Act Standards to the Use of Criminal records by

Providers of Housing and Real Estate-Related Transactions.” The document

stated: “Nationally, racial and ethnic minorities face disproportionately high rates

of arrest and incarceration,” and that, “the fact of an arrest is not a reliable basis

upon which to assess the potential risk to resident safety or property posed by a

particular individual.” Id. at 3, 5 [hereinafter HUD OGC 4/4/2016 Guidance].

      On April 15, 2016, over a week before Mikhail Arroyo’s application, RPS

shared with some of its clients an email which highlighted (a) per the HUD OGC

4/4/2016 Guidance, arrest records that don’t result in convictions are not reliable

bases to assess the potential risk resident safety or property; and (b) “according

to HUD, a blanket policy to deny any applicants with a criminal record may have a

disparate impact on African Americans and Hispanics.” [Dkt. 125-17 (Ex. 15: 4/15/16

RPS Email) at 2]; see also [Dkt. 125-18 (April 2016 RPS HUD Training PowerPoint)]].

In the email, RPS “recommends that our customers work with their legal counsel

to review their eligibility requirements and related policies around the use of


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criminal background data to… determine [whether] changes need to be made to

your CoreLogic product settings.” [Dkt. 125-17 at 2].

      The email also states that “RPS is currently reviewing our products to

determine what changes, if any, to make in order to best support our clients in light

of this new guidance from HUD. Once this review is complete, any changes will be

communicated to clients with enough notice to allow for clients to adjust their

processes.” [Dkt. 125-17 at 3]. Despite the HUD OGC 4/4/2016 Guidance, as of

September 5, 2019, Stephanie Dachtler, a Relationship Manager for RPS, was not

aware of any changes made to CrimSAFE. [Dkt. 118-8 (Ex. 26 to Pl.’s Mot. Summ.

J.: Dachtler Dep.) at 75:18-23 There is no evidence on the record that RPS informed

its customers that they could change their CrimSAFE settings to reverse their

election to suppress from line staff and applicants the basis on which CrimSAFE

categorized applicants “disqualified,” so they could proceed with their

communities screening policies consistent with the HUD OGC 4/4/2016 Guidance.

      WinnResidential has used RPS screening products since 2008 and used

CrimSAFE through at least July 31, 2019. [Dkt. 118-1 ¶30]. As of April 2016,

WinnResidential CrimSAFE settings included all charges for “theft” occurring

within the prior three years. [Dkt. 114-1 ¶23]. WinnResidential made changes to its

CrimSAFE settings in May of 2016 and July of 2016 in response to the HUD OGC

4/4/2016 Guidance. Id.

      On April 26, 2016, Ms. Arroyo applied for housing at WinnResidential on

behalf of Mr. Arroyo at the Artspace Windham in Willimantic Connecticut. [Dkt. 114-

1 ¶25]. WinnResidential electronically requested from RPS a tenant screening


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report on Mr. Arroyo. Id. ¶ 26. That day, RPS provided WinnResidential a screening

report on Mr. Arroyo that included a “Score Decision” regarding Mr. Arroyo’s

credit-worthiness and a “Crim Decision” regarding his suitability as a tenant based

on his criminal background. [Dkt. 118-1 ¶44]. WinnResidential suppressed the

underlying criminal records from the view of its leasing agents. [Dkt. 126-1 ¶91].

      The “Crim Decision” for Mikhail Arroyo stated “Record(s) Found,” which is

the text that appeared on reports RPS prepared for WinnResidential when it

determined that disqualifying records were found. Id. ¶45. The fourth page of the

screening report specifies, “Based upon your community CrimSAFE settings and

the results of this search, disqualifying records were found. Please verify the

applicability of these records to your applicant and proceed with your community’s

screening policies.” Id. ¶46; see [Dkt. 116-33 (Ex. 30 to Pl.’s Mot. Summ. J.: Adverse

Action Letter to Mikhail Arroyo)].

      The parties dispute whether any other decisionmakers at WinnResidential

had Mr. Arroyo’s criminal record. Compare [Dkt. 116-41 (Aff. Ans. of

WinnResidential to Administrative Compl.) ¶23] and [Dkt. 116-35 (6/13/2017 Fact

Finding Hearing Tr.) at 50, 52, 68-71] with [Dkt. 114-2 (Kayani Decl.) ¶15] and [Dkt.

114-2 at Ex. D (Administrator Version of Mikhail Arroyo Screening Report

Generated May 3, 2018)].12 The Court finds there is a genuine issue of fact as to



      12 The parties each argue that the other party’s evidence on this point is
inadmissible. RPS argues that Dkt. 116-41 (Aff. Ans. of WinnResidential to
Administrative Cmplt.) is inadmissible hearsay, see Fed. R. Evid. 802; Dkt. 114-2
(Kayani Decl.) and that Dkt. 116-35 (Carmen Arroyo Decl.) were not made on the
basis of personal knowledge, see Fed. R. Evid. 602, Roberts v. Ground Handling,


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whether WinnResidential knew the basis on which RPS categorized Mr. Arroyo as

disqualified because WinnResidential elected to suppress records and there is no

evidence it was given the option to or did change that election.

      The sole criminal record upon which RPS relied in making the CrimSAFE

report for Mikhail Arroyo is a single charge in Pennsylvania for “grade S” retail

theft under 18 Pa. C.S.A. § 3929(a)(1) filed on July 18, 2014, when he was twenty

years old and prior to his accident. [Dkt. 118-1 at ¶51]. A “Grade S” in Pennsylvania

means “summary offense,” which is below the level of a misdemeanor and is often

called a non-traffic citation. Id. at ¶ 52. A charge for summary offense retail theft

indicates that this was his first offense and the value of the merchandise he

allegedly stole was under $150. 18 Pa. C.S.A. § 3929(b)(1). Ibid. The charge had not

led to a conviction as of the date it was reported. Id. ¶54.

      Mr. Arroyo’s application was rejected. Id. ¶30. As a matter of law, Mr. Arroyo

was innocent of the charge. See Coffin v. United States, 156 U.S. 432 (1895) (“the

principle that there is a presumption of innocence in favor of the accused is the

undoubted law, axiomatic and elementary...”). Mr. Arroyo was never convicted

and, on April 20, 2017, the charge against Mr. Arroyo was withdrawn. Id. ¶¶53, 54.

Mr. Arroyo remained in a nursing home until June 2017. Id. ¶¶30, 63.



Inc., 499 F. Supp. 2d 340, 360 (S.D.N.Y. 2007) (“It is axiomatic that affidavits
submitted in support of or in opposition to a summary judgment motion must ‘be
made on personal knowledge”). Plaintiffs argue that [Dkt. 114-2 at Ex. D] cannot be
authenticated as a copy of a document that CoreLogic returned to WinnResidential
on 4/26/2016 as claimed, as it is a document generated on 5/3/2018, see Fed. R.
Evid. 901. However, neither party demonstrates that the other cannot produce
admissible evidence. see Fed. R. Civ. P. 56(c)(2). The Court finds that a dispute of
fact remains.

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   F. Mr. Arroyo’s Consumer File Disclosure Request
       RPS regularly processes requests from consumers for their files. [Dkt. 114-

1 (Def.’s Unredacted 56(a)1 Statement) ¶ 36]. It maintains written policies and

procedures for the ways in which consumers making file disclosures must be

authenticated. Id. ¶37. Those authentication procedures generally require

consumers to provide their personal identifying information, government

documentation, and/or answers to a series of personal security questions. Id.

       In addition to regularly disclosing consumer files directly to the requesting

consumer, RPS processes the disclosure of consumer files to third-party legal

guardians acting on the consumer’s behalf. Id. ¶ 38. To protect consumer privacy

in the situation where a third party is seeking a copy of a consumer’s file, RPS’s

written policies generally require a notarized power of attorney, the consumer’s

name, proof of the address to where the disclosure should be mailed, and

confirmation of the last four digits of the consumer’s Social Security number. Id.

(citing [Dkt. 114-6 (Barnard Decl.) ¶ 8 & Ex. A at pp. 3]). Based on RPS’s written

authentication policy, in “any scenario” where those requirements cannot be

fulfilled, the RPS employee who is handling the file disclosure request must

escalate the request to a “supervisor.” [Dkt. 114-1 ¶39]. A situation in which a

consumer is disabled and cannot execute a power of attorney requires adjustment

of third-party authentication process and supervisory review. Id. (citing [Dkt. 114-6

at ¶ 13 & Ex. A at 3]).

       Carmen Arroyo first contacted RPS on April 27, 2016 to request Mikhail

Arroyo’s consumer file. [Dkt. 114-1 ¶40]. RPS informed Ms. Arroyo of the process


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for obtaining the file in a third-party capacity, which required her to submit a

disclosure request form and certain documentation. Id. at ¶ 41. Three days later,

on April 29, 2016, RPS mailed Ms. Arroyo a consumer disclosure request form and

instructions. Id. ¶ 42. The form asked for Mr. Arroyo’s name, date of birth, social

security number or Tax Identification Number, phone number, current address, and

signature. [Dkt. 125-10 (Pls.’ Opp. to Def.’s Mot. Summ. J. Ex. 8: 6/14/16 Arroyo File

Disclosure) at 2].

      Ms. Arroyo signed the form as Mr. Arroyo’s mother and mailed the first

consumer disclosure request form (the “First Disclosure Request”) to RPS on June

14, 2016. Ibid. RPS received it on June 27, 2016. Ibid. The First Disclosure Request

did not list Mikhail Arroyo’s Social Security number, it did not contain his complete

previous address information, and it was signed just below the line designated.

Ibid. With the First Disclosure Request, Ms. Arroyo submitted a copy of Mr.

Arroyo’s Pennsylvania driver’s license, a copy of her driver’s license, and a copy

of a certificate of conservatorship. Ibid. The certificate of conservatorship states

on its face that it is “NOT VALID WITHOUT COURT OR PROBATE SEAL

IMPRESSED.” [Dkt. 125-10 at 3]. It contains the name of the probate court, case

number, and case caption. Ibid. At the lower left hand corner, there is a circular

area that appears shaded or scratched out by a pen or pencil, through which one

can see the outlines of what appear to be letters, and in the center of which are the

typewritten words “Court Seal.” Ibid. The First Disclosure Request was escalated

to two supervisors. [Dkt. 114-1 ¶46]. The supervisors informed their employees that

they could not accept the “conservatorship court paper,” and that a power of


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attorney and Mr. Arroyo’s signature were needed. [Dkt. 112-8 (Ex. 9 to Def.’s Mot.

Summ. J., Barnard Decl. at Ex. B: 6/30/2016 Consumer Relation Remarks) at 11].

      On June 30, 2016, RPS mailed a letter to Mr. Arroyo at the nursing home

address listed as his current address, asking him to contact RPS, which would

“accurately provide information [he] need[ed].” [Dkt. 114-1 ¶46]; see [Dkt. 114-6

(Barnard Decl.) at Ex. D]. The letter was returned as undeliverable. Id. The letter did

not mention any deficiencies in the form or conservatorship appointment and did

not inform Mr. Arroyo or Ms. Arroyo that she could submit a corrected form and

conservatorship appointment certificate with a legible raised seal. Id. Although Ms.

Arroyo’s address was listed on the copy of the certificate of conservatorship, RPS

did not send any mail to her or notify her that she needed to provide additional

information to complete Mr. Arroyo’s consumer disclosure request. [Dkt. 125-10];

[Dkt. 114-6 at Ex. D].

      Three months later, on September 7, 2016, Ms. Arroyo called RPS to discuss

the status of the disclosure. [Dkt. 114-1 ¶47]. During that call, she was instructed

that she had to provide a notarized power of attorney. [Dkt. 114-6 (Barnard Decl.)

at Ex. B at 3]. RPS did not inform her of the other deficiencies in the application or

the critical absence of a legible raised seal on the Probate court conservatorship

appointment.

      RPS’s next contact with Ms. Arroyo did not occur until November 1, 2016,

when she called to ask why RPS had not yet provided her with Mikhail Arroyo’s

consumer file. [Dkt. 118-1 ¶48]. RPS escalated the matter to its consumer relations

department, its compliance department, and then its internal legal department and



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outside attorneys, while staying in contact with Ms. Arroyo. Id. ¶¶ 49, 50. On

November 14, 2016, RPS asked Ms. Arroyo send RPS a new certificate of

conservatorship with the court seal visible, as well as proof of current address

documentation. Id. ¶50.

      On November 15, 2016, Ms. Arroyo faxed additional documentation and a

new consumer disclosure form (the “Second Disclosure Request”) to RPS. Id. at

¶51. The Second Disclosure Request included Mr. Arroyo’s social security number,

and was signed by both Ms. Arroyo, who identified herself as Mr. Arroyo’s mother

and co-conservator, and by Tod Stimpson, who identified himself as Mr. Arroyo’s

co-conservator. [Dkt. 125-12 at 4]. Ms. Arroyo also attached an updated copy of the

conservatorship certificate which also stated it was invalid without a seal. Id. at 5.

At the lower left-hand corner, there is a faint circle of stray marks, more darkly

shadowed at the bottom, and in the center of which are the typewritten words

“Court Seal.” Ibid. No letters can be made out. Ibid.

      The Second Disclosure Request and supporting documentation was

escalated to RPS’s compliance and legal departments, including consultation with

outside counsel. Id. ¶52. RPS found the documentation insufficient because the

conservatorship appointment did not have a visible court seal, Ms. Arroyo signed

her name instead of Mr. Arroyo’s, and there was no proof of address. [Dkt. 114-6 at

Ex. F at 1-2 (RPS Emails Regarding Request)]. On November 16 and November 18,

2016, RPS attempted to contact Ms. Arroyo by telephone to discuss the

documentation she submitted with the Second Disclosure Request. Id. at ¶53. Ms.




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Arroyo did not return these calls. Id. There is no evidence RPS sent Ms. Arroyo a

letter explaining the deficiencies.

      In mid-December 2016, a paralegal at the CFHC contacted RPS and stated

the CFHC was assisting Ms. Arroyo in the file disclosure process. Id. ¶ 54. RPS

requested additional documentation from the CFHC in the form of a power of

attorney to establish that the CFHC was formally representing Ms. Arroyo. Id. RPS

then mailed and emailed the CFHC a consumer disclosure request form and

instructions on the documents the CFHC should submit. Id. RPS did not receive

any documentation from the CFHC in response. Id. RPS had no further contact with

CFHC or Ms. Arroyo until this suit was filed. Id. at ¶55.

      Plaintiffs are not aware of any other conserved individual who has requested

a file disclosure from RPS, and RPS also has no record of any other conserved

individual requesting a file disclosure. [Dkt. 114 ¶45], [Dkt. 126-3 (Barnard Dep.)

120:15-124:24].

   G. CFHC Involvement

      Plaintiff CFHC is a nonprofit corporation incorporated in Connecticut. [Dkt.

1 (Compl.) ¶28]. Its mission is “eliminating housing discrimination and ensuring

that all people have equal access to housing of their choice.” Id. ¶¶ 19, 185-87, 192.

      Ms. Arroyo retained the CFHC in 2017 to bring an administrative complaint

against WinnResidential for failing to reasonably accommodate Mr. Arroyo’s

disability by refusing to admit him. [Dkt. 114-1 ¶32]. WinnResidential appeared at




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an initial administrative fact-finding hearing on June 13, 2017, and a settlement was

reached following the hearing. Id. ¶ 34.

         The   settlement    agreement   included      no   provision   requiring   that

WinnResidential allow Mr. Arroyo to move into the apartment. [Dkt. 125-9 (Ex. 7:

Conciliation Agreement)]. However, Mr. Arroyo moved into the apartment after the

hearing. [Dkt. 116-35 at Ex. A at 16-28, 68-71, 52].

         CFHC received $13,00 in connection with that settlement as attorneys’ fees

for CFHC’s representation of the Arroyos, work that has not been claimed as

diversion damages. [Dkt. 125-13 (Ex. 11 to Pl.’s Opp, Kemple Decl.) ¶¶ 3-5]. CFHC

separately, from other sources, received grants totaling $380,000 to address

criminal record tenant screening in the housing application process. [Dkt. 114-1 ¶

63].

   II.      Legal Standard

         Summary judgment “shall be granted” if, construing the evidence in the light

most favorable to the non-movant, “there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

An issue is genuine if “the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). A fact is “material” if it “might affect the outcome of the suit under the

governing law.” Ibid.

         “In ruling on a motion for summary judgment, ‘the evidence of the

nonmovant is to be believed, and all justifiable inferences are to be drawn in his


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favor.’” Tolan v. Cotton, 572 U.S. 650, 651 (2014) (quoting Anderson, 477 U.S. at

255)). “Credibility determinations, the weighing of evidence, and the drawing of

legitimate inferences form the facts are jury functions, not those of a judge.”

Anderson, 477 U.S. at 255. Put another way, “[i]f there is any evidence in the record

that could reasonably support a jury’s verdict for the nonmoving party, summary

judgment must be denied.” Am. Home Assurance Co. v. Hapag Lloyd Container

Line, GmbH, 446 F.3d 313, 315-16 (2d Cir. 2006) (internal citation and quotation

omitted).

      A party asserting that a fact cannot be or is genuinely disputed must support

the assertion by:

            (A) citing to particular parts of materials in the record, including
            depositions, documents, electronically stored information,
            affidavits or declarations, stipulations (including those made for
            purposes of the motion only), admissions, interrogatory answers,
            or other materials; or

         (B) showing that the materials cited do not establish the absence
         or presence of a genuine dispute, or that an adverse party cannot
         produce admissible evidence to support the fact.
Fed. R. Civ. P. 56(c)(1). A party asserting that a fact is or is not true must present

admissible evidence to support their assertion. Fed. R. Civ. P. 56(c)(2).

      Where the movant presents admissible evidence tending to show there is no

genuine issue of material fact for a jury to decide and she is entitled to judgment

as a matter of law, “the burden shifts to the nonmovant to point to record evidence

creating a genuine issue of material fact.” Salahuddin v. Goord, 467 F.3d 263, 273

(2d Cir. 2006). Fed. R. Civ. P. 56(c), (e). Rule 56(c) “mandates the entry of summary

judgment… against a party who fails to make a showing sufficient to establish the

existence of an element essential to a party’s case, and on which that party will

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bear the burden of proof at trial.” Bedor v. Friendly’s Ice Cream Corp., 392 F. Supp.

2d 367, 373 (2005) (quoting Celotex Corp v. Catrett, 477 U.S. 317, 322 (1986)).

   III.      Analysis

          RPS moves for summary judgment on all counts of the complaint: the FHA

disparate impact claim on the basis of race and national origin; the FHA

discriminatory treatment claim on the basis of race and national origin; the FCRA

claims; the FHA disparate impact claim on the basis of disability;           the FHA

discriminatory treatment claim on the basis of disability; the CUTPA claims on the

basis of CrimSAFE and on the basis of file disclosure; and CFHC’s claim for

compensatory damages. It further argues that Ms. Arroyo does not have individual

standing. Plaintiffs respond to RPS’s motion for summary judgment, and also

themselves move for partial summary judgment on their FHA disparate impact

claim on the basis of race and national origin and their CUTPA claim on the basis

of CrimSAFE. They also separately move for partial summary judgment on the

FCRA claims, the FHA disparate impact claim on the basis of disability, and the

CUTPA claim on the basis of file disclosure. The Court analyzes each claim in turn

but starts with standing.

   A. Standing

          To establish constitutional standing, “the plaintiff must show an ‘injury in

fact’ that is ‘fairly traceable’ to the defendant’s conduct and ‘that is likely to be

redressed by a favorable judicial decision.’” Bank of Am. Corp. v. City of Miami,

Fla., 137 S. Ct. 1296, 1302 (2017) (quoting Spokeo, Inc. v. Robins, 578 U.S. ––––, ––


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––, 136 S.Ct. 1540, 1547 (2016)). A plaintiff must also satisfy “statutory standing,”

that is, demonstrate that her “interests fall within the zone of interests protected

by the law invoked.” Lexmark Int'l, Inc. v. Static Control Components, Inc., 572 U.S.

––––, ––––, 134 S.Ct. 1377, 1387-88 and n.4 (2017).

          1. Carmen Arroyo’s Standing for Fair Housing Act (FHA) Claim

      RPS argues that Carmen Arroyo does not meet either requirement for

standing for her FHA claim: she does not experience “injury in fact” required for

standing under any of FHA claims because she was not denied housing at any

point; and she does not have statutory standing because lack of companionship

and emotional distress are outside the zone of interests protected by the FHA. [Dkt.

114 at 44-45].

      To allege constitutional injury-in-fact, a plaintiff must allege “an invasion of

a legally protected interest which is (a) concrete and particularized; and (b) actual

or imminent, not conjectural or hypothetical.” Citizens for Resp. & Ethics in Wash.

v. Trump, 953 F.3d 178, 189 (2d Cir. 2019), as amended (Mar. 20, 2020) (quoting

Lujan v. Def.’s of Wildlife, 504 U.S., 555, 560 (1992)).

      Statutory standing under the FHA is “as broad[] as is permitted by Article III

of the Constitution.” Trafficante v. Metro. Life. Ins. Co., 409 U.S. 205, 209 (1972)

(citations omitted). The FHA allows any “aggrieved person” to bring a housing-

discrimination lawsuit. 42 U.S.C. § 3613(a). An “aggrieved person” includes “any

person who claims to have been injured by a discriminatory housing practice…”

42 U.S.C. § 3602(i)(1); see 24 C.F.R. 100.65 (Discriminatory housing practices


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include conduct that “limits the use of privileges, services, or facilities associated

with a dwelling because of race color…. of an owner, tenant or a person associated

with him or her”); 42 U.S.C. § 3604(f)(1)-(2) (prohibiting discrimination in the sale or

rental, or in terms, conditions, or privileges of sale or rental, “because of a

handicap of… (b) a person intending to reside in that dwelling after it is… rented

or made available; or (C) any person associated with a that buyer or renter.”). The

FHA provides a cause of action for individuals in a housing complex who are not

themselves denied housing on the basis of discrimination, but who allege

deprivation of relationships with individuals who are: it “allows suits by white

tenants claiming that they were deprived benefits from interracial associations

when discriminatory rental practices kept minorities out of their apartment

complex.” Bank of Am. Corp. v. City of Miami, Fla., 137 S. Ct. at 1303 (citing

Trafficante at 209-212).

      Here, Ms. Arroyo alleges that RPS’s discriminatory housing practices

segregated her from her son on the basis of ethnicity and ability, and she claims

emotional injuries on that basis. Ms. Arroyo’s claims are similar to, and even more

compelling than, the plaintiffs’ claims in Trafficante, 409 U.S. 205. In Trafficante,

the Court found that two tenants, one who was white and one who was African

American, had constitutional and statutory standing to pursue FHA claims alleging

their landlord racially discriminated against rental applicants, depriving tenants of

the social and professional benefits of living in an integrated community. Id. at 206-

12. Like Ms. Arroyo, the aggrieved tenants were already living in the complex. Id.

at 206. Like Ms. Arroyo, the tenants’ grievance was based on their interest in an


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integrated community. Id. at 209. The Trafficante Court held protected the mutual

benefit of diverse associations and acquiring multi-cultural competency. Id.

      Here, not only would Ms. Arroyo and her son benefit from mutual

association, Ms. Arroyo was also deprived of familial association, highly valued in

our society. She was also deprived of the ability to fully and effectively discharge

her maternal and legal duty as conservator of Mr. Arroyo to protect both his person

and interests as ordered by the Probate Court by having him live with her rather

than in a nursing home. These are concrete, particularized, and actual injuries

within the scope of interests protected by the FHA.

      RPS cites two cases in opposition, but neither is apposite. First, in its

motion, RPS quotes Vaughn v. Consumer Home Mortgage Co., 297 F. App'x 23, 26

(2d Cir. 2008) for the proposition that FHA standing extends “only to those persons

who are ‘personally denied equal treatment by the challenged discriminatory

conduct.’” Id. at 26, cited by [Dkt. 114 at 45]. But this quotation misrepresents the

sentence: the sentence qualifies that it is only speaking to one “line of authority,”

among others, and that line of authority concerns “government-erected barriers,”

which are not issue here. Id. at 26. Second, in its reply, RPS quotes Wartluft v.

Milton Hershey School & School Trust, 400 F. Supp. 3d 91, 102-103 (M.D. Pa. 2019)

for the proposition that “a ‘[loss] of companionship’ and related emotional distress

damages as falling outside of the zone of interests protected by the FHA.” [Dkt. 140

at 18]. But in Wartluft the plaintiffs were parents bringing an FHA claim on the basis

that a school’s discriminatory expulsion of their daughter led to her suicide; they




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themselves did not live at the allegedly discriminatory residence or wish to live

there. Therefore, it also is not persuasive here.

      The Court finds that Ms. Arroyo’s claim falls squarely within the zone of

interests protected by the FHA, and that she has standing.

         2. Carmen Arroyo’s Standing for Connecticut Unfair Trade Practices Act

             (CUTPA)

      RPS also contends Ms. Arroyo does not have standing to pursue her CUTPA

claim. To sustain a claim under CUTPA a person must suffer an ascertainable loss

of money or property. Conn. Gen. Stat. § 42-110g. RPS argues that, as a matter of

undisputed fact, Ms. Arroyo did not suffer an adverse housing decision, and cannot

point to an ascertainable loss. In response, Plaintiffs argue that RPS’s actions

delayed Mr. Arroyo’s admission to ArtSpace Windham by about a year through

RPS’s CrimSAFE report regarding Mr. Arroyo and its misinforming Ms. Arroyo

about the documentation needed to obtain Mr. Arroyo’s CrimSAFE file. During this

year, Plaintiffs allege, Mr. Arroyo remained in a nursing home, Ms. Arroyo and Mr.

Arroyo had additional medical, travel, and housing expenses, and Ms. Arroyo had

higher housing expenses without Mr. Arroyo’s housing subsidy. See [Dkt. 1

(Compl.) at ¶102]. The Court finds that Ms. Arroyo’s claimed associational

deprivation and financial and emotional injuries are sufficient to establish her

statutory and constitutional standing to bring the CUTPA claim.

         3. Standing for claims on behalf of African American rental applicants

      The Arroyos are not African-American and, unlike the white plaintiff in

Trafficante, do not claim to be injured themselves by RPS’s alleged discrimination

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against African-American applicants, so they do not have statutory standing to

allege claims on the basis of discrimination against African Americans. Cf.

Trafficante v. Metro. Life Ins. Co., 409 U.S. 205, 208 (1972). But, in light of CFHC’s

inclusion as a Plaintiff, the Court holds that it is still appropriate to consider

Plaintiffs’ FHA and CUTPA claims on the basis of discrimination against African

Americans. See Rumsfeld v. Forum for Acad. & Institutional Rights, Inc., 547 U.S.

47, 53 (2006) (“The presence of one party with standing is sufficient to satisfy

Article III's case-or-controversy requirement.”).

      Organizations who allege that a defendant’s actions have “frustrated the

organization [plaintiff]’s… services, with a consequent drain on resources” have

standing to bring FHA claims. Havens Realty Corp. v. Coleman, 455 U.S. 363, 369

(1982); Ragin v. Harry Macklowe Real Estate, 6 F.3d 898 (2d Cir. 1993) (reversing

finding that nonprofit agency lacked standing to bring discrimination claim against

real estate advertisers). On this basis, an organization may bring claims on behalf

of individuals not otherwise represented in the action. For example, in Saint-Jean

v. Emigrant Mortg. Co., where the plaintiffs were African American, the court held

that the fact that jury instructions mentioned alleged housing discrimination

against Hispanic communities was not a basis for retrial. 337 F. Supp. 3d 186, 198

n.4 (E.D.N.Y. 2018) (citing Ragin, 6 F.3 898); see also Veasey v. Perry, 29 F. Supp.

3d 896, 903-04 (S.D. Tex. 2014) (holding that organizations had standing to

challenge voter identification law as racially discriminatory against African-

Americans and Latinos based on pleaded mission statements including “to




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empower young people, particularly those of color,” and to “serv[e] as an advocacy

group for the working poor”).

      In this case, Plaintiffs allege the disparate impact of CrimSAFE on African

American and Latino applicants frustrates CFHC’s mission is ensuring that all

people have equal access to the housing of the choice. [Dkt. 1 ¶19]. As to resource

drain, there is evidence that housing providers have reached out to CFHC for

guidance on the use of criminal records, [Dkt. 125-21 (Ex. 19: Kemple Dep.) at 98:19-

24], and that CFHC has changed its public trainings and presentations to account

for RPS’s policies regarding criminal records, id. at 97-111. Therefore, the Court

finds that CFHC has standing to bring FHA and CUTPA claims based on ethnicity

and race discrimination against both Latinos and African Americans.

   B. FHA Disparate Impact Claim on the Basis of Race or Ethnicity

      The FHA prohibits a person or entity from “mak[ing] unavailable or deny[ing]

a dwelling to any person because of race or national origin.” 42 U.S.C. § 3604(a).

Section 3604(b) prohibits discrimination “in the terms, conditions, or privileges” of

a rental. “Otherwise make[s] unavailable” is a “catchall phrase” that “look[s] to

consequences, not intent.” Tex. Dep't of Hous. & Cmty. Affairs v. Inclusive

Communities Project, Inc., 135 S. Ct. 2507, 2519 (2015).

      Disparate impact claims are cognizable under the FHA. Id. at 2525. 24 C.F.R.

§ 100.500 sets forth the regulation of the Department of Housing and Urban

Development (“HUD”) on discriminatory effects, which the Second Circuit has

adopted to analyze FHA disparate impact claims:



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      First, a plaintiff… must come forward with a prima facie case; and
      second, the defendant… may rebut the prima facie case by proving
      that the ‘challenged practice is necessary to achieve one or more
      substantial, legitimate, nondiscriminatory interests of the respondent
      or defendant.’ [Third], the burden of proof shifts back to the plaintiff to
      show that the ‘substantial, legitimate, nondiscriminatory interests
      supporting the challenged practice could be served by another
      practice that has a less discriminatory effect.’

See Mhany Mgmt., Inc. v. Cty. of Nassau, 819 F.3d 581, 617 (2d Cir. 2016) (appeal

following a bench trial) (quoting 24 C.F.R. § 100.500(c)(3)); see Inclusive

Communities Project, 135 S. Ct. at 2514-15; 2522-23.

      To establish a prima facie case, a plaintiff must show “that a challenged

practice caused or predictably will cause a discriminatory effect.” 24 C.F.R. §

100.500(c)(1). This standard has three elements: (i) “certain outwardly neutral

practices,” Mhany, 819 F.3d at 617; (ii) “a significantly adverse or disproportionate

impact on persons of a particular type, ibid.; and (iii) “a causal connection between

the facially neutral policy and the allegedly discriminatory effect,” Tsombanidis v.

W. Haven Fire Dep't, 352 F.3d 565, 575 (2d Cir. 2003) (bench trial). Both RPS and

Plaintiffs move for summary judgment on Plaintiffs’ FHA disparate impact

discrimination claim. The Court addresses first addresses their arguments as to

causal connection, and next addresses their arguments about disparate impact.

      1. Prima Facie Case

                i. Proximate Cause

      In their motion for summary judgment, Plaintiffs argue that they have

established undisputed facts that show RPS was a proximate cause of housing

availability on the basis of race or ethnicity. [Dkt. 118 at 9-18]. RPS rejects this


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claim, arguing that it was not a proximate cause, is not an agent of WinnResidential,

and CrimSAFE is not a “decisioning” product. [Dkt. 129 at 24-33].

      “As the agency charged with enforcement of the FHA, HUD's construction of

the statute ‘is entitled to great weight.’” Viens v. Am. Empire Surplus Lines Ins.

Co., 113 F. Supp. 3d 555, 567 n.11 (D. Conn. 2015) (quoting Trafficante, 409 U.S. at

210). HUD regulations provide:

      It shall be unlawful, because of race,… handicap,… or national origin,
      to engage in any conduct relating to the provision of housing or of
      services and facilities in connection therewith that otherwise makes
      unavailable or denies dwellings to persons.
24 C.F.R. § 100.70(b) (emphasis added).

      A defendant makes housing unavailable “when [it] engages in a series of

actions that imposes burdens on… a protected class of residents or intended

residents, making it more difficult for the members of the protected class to obtain

housing or conveying a sense that the members of the protected class are

unwanted.” Gilead Cmty. Servs., Inc. v. Town of Cromwell, No. 3:17-CV-627 (VAB),

2019 WL 7037795, at *20 (D. Conn. Dec. 20, 2019). “[P]roximate cause under the

FHA requires ‘some direct relation between the injury asserted and the injurious

conduct alleged’;” “foreseeability” alone is not sufficient. Bank of Am. Corp. v. City

of Miami, Fla., 137 S. Ct. 1296, 1306 (2017) (quoting Holmes v. Securities Investor

Protection Corporation, 503 U.S. 258 (1992)). “A link that is too remote, purely

contingent, or indirec[t] is insufficient.” Empire Merchs., LLC v. Reliable Churchill

LLP, 902 F.3d 132, 141 (2d Cir. 2018) (quoting Hemi Grp., LLC v. City of New York,

559 U.S. 1, 9 (2010)) .


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       Discrimination may have “multiple proximate causes,” and the possibility

that one decisionmaker may be overridden by a higher decisionmaker does not

“automatically render the link to the [subordinate’s] bias ‘remote’ or ‘purely

contingent’” for proximate cause purposes, especially where the ultimate

decisionmaker’s judgment is neither “independent” nor unforeseeable. Staub v.

Proctor Hosp., 562 U.S. 411, 419 (2011). In Staub, a Uniformed Services

Employment and Reemployment Rights Act case, the Supreme Court held that for

the purposes of showing illegal antimilitary bias, a biased supervisor’s unfavorable

report could be a proximate cause for the plaintiff’s ultimate discharge, even

though supervisor did not make ultimate decision. Id. “[T]he supervisor's biased

report may remain a causal factor if the [decisionmaker's] independent

investigation takes it into account without determining that the adverse action was,

apart from the [biased] supervisor's recommendation, entirely justified.” Id. at 421,

cited by Vasquez v. Empress Ambulance Serv., Inc., 835 F.3d 267, 274-75 (2d Cir.

2016) (recognizing that co-worker’s statements may proximately cause the plaintiff

to be fired).

       An agency relationship is neither necessary nor sufficient to show proximate

cause. Both Staub and Vasquez address whether an employer may be held liable

for an employee’s discriminatory actions and animus, and conclude, on the basis

of agency principles, that an employer can be held liable for an employee’s

discriminatory motives. Staub, 562 U.S. at 419-21; Vasquez, 835 F.3d at 274-75. But

both treat the question of proximate causation independently from the agency




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analysis of motive attribution. Staub, 562 U.S. at 419-21; Vasquez, 835 F.3d at 274-

75.

      Ultimately, “issues of proximate causation… involve application of law

to fact, which is left to the factfinder.” Exxon Co., U.S.A. v. Sofec, Inc., 517 U.S. 830,

840–41 (1996). Proximate cause becomes a question for a court only where

“…there are active and efficient intervening causes, or where reasonable

[factfinders]   could    reach    only    one    conclusion     regarding    the    issue

of proximate cause.” Margrave v. British Airways, 643 F. Supp. 510, 513 (S.D.N.Y.

1986). Whether there are multiple reasonable conclusions is a separate question

from whether there are disputed issues of fact. See Tolan v. Cotton, 572 U.S. 650,

651 (2014); Mosheuvel v. D.C., 191 U.S. 247, 252 (1903).


      The Court finds that a reasonable factfinder could find RPS one proximate

cause of housing unavailability but need not necessarily do so; and leaves the

question of whether that unavailability is on a discriminatory basis for the following

sections. RPS markets CrimSAFE as “rendering a decision on an applicant’s

suitability for tenancy based on their criminal history.” [Dkt. 118-1 ¶¶5, 6, 9, 33].

CrimSAFE has many features which demonstrate the truth of the marketing

promise: It informs a housing provider whether there is a “record found” that would

be disqualifying under the criteria set by the client. [114-1 ¶8]. It allows clients to

disqualify innocent people who have been charged but not convicted, even where

the charges are non-criminal infractions. [Dkt. 118-1 ¶¶51-52]. It also allows clients

to suppress the remainder of the full reports from the view of their onsite leasing

staff, as WinnResidential did, so that onsite leasing staff see only the “records

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found” notification.” [Dkt. 118-1 ¶¶ 26, 36]. It chose to use the criminal categories

created by the FBI’s national incident-based reporting system as those available

as CrimSAFE configuration criteria. [Dkt. 129-1 ¶8]. It establishes the maximum

lookback periods of 7 years for non-convictions. Id. ¶ 11.

      With its CrimSAFE product, RPS CoreLogic always returns information

about whether disqualifying records are or are not found but does not always the

full criminal record to the staff of the housing provider. If it always returned the

criminal record, the staff of the housing provider might consider only the fact of

the existence of a criminal record, but they would also be able to investigate it

themselves, and weigh the criminal record in light of everything else they knew

about a particular applicant – whether the charge was a conviction or a pending

arrest or a dismissal, whether it was a charge for first-degree assault or shoplifting

or a traffic accident involving damage, and whether the applicant provided any

other information in their application that would mitigate the particular records

found.

      Instead, CrimSAFE always “categorizes” records: first into types of

offenses, and then into whether the record is disqualifying or not according to the

housing provider’s choices from CrimSAFE’s menu. See [Dkt. 114-1 ¶¶5, 6, 7, 8].

Importantly, categories do not just separate out offenses by distinguishing

characteristic, they also combine them, and, in the combination, CrimSAFE

reduces housing providers’ discretion. So, for instance, at the first level of

categorization: in the “Destruction Damage Vandalism of Property” category,

CoreLogic includes “traffic accidents involving damage,” which even CoreLogic’s



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expert concedes has no relationship to suitability for tenancy. [Dkt. 136-1 (Pl.’s

Reply 56(a)1 Statement) ¶103]. The same category also includes vandalism and

property damage, id., so a housing provider cannot exclude vandals without also

excluding people involved in traffic accidents. At the second level of

categorization, CoreLogic transforms the criminal records review process into a

yes/no switch, eliminating the possibility staff may be able to weigh a dismissed

arrest for theft differently than a pending charge for disorderly conduct differently

than a conviction for assault.

       By allowing clients to elect to suppress the full criminal record information,

RPS allows clients to disable their staff from fully assessing the suitability of a

tenant applicant and enabled its clients to deny housing to individuals whose

records did not suggest they posed any risk to the property of its occupants. It

continued this practice even after HUD issued guidance that arrest records were

not a proper basis to disqualify a tenant although it could have readily informed

clients to alter their search parameters pending its review of its produce. And it is

no surprise that it did so: what distinguishes CrimSAFE from other RPS screening

products, its unique value-proposition, is the fact that it categorizes records for the

housing providers and simplifies decision-making. Were RPS clients to never use

CrimSAFE’s “record(s) found” message as a basis for a decision, CrimSAFE

logically could not provide RPS’s claimed benefits:        speeding up background

screenings and ensuring that housing providers’ employers were adhering to the

community standard. [Dkt. 114-1 ¶¶ 13-14].




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       RPS argues in response that it is not a direct cause of any housing

discrimination because its housing manager customers set the criteria for deciding

which criminal records should result in rejection and determine whether to

suppress the full reports from onsite housing staff. [Dkt. 129 at 24-32]. RPS further

argues that its housing manager clients can override RPS’s recommendation of

denial based on individualized review, and that, when doing so, they can take

account of the underlying criminal record because the reports are always available

to someone at the client housing provider. [Dkt. 129 at 24-32]; [Dkt. 114 at 27].

       The fact that RPS’s statement of “record(s) found” may be overridden by its

client does not eliminate its responsibility—discrimination may have multiple

causes and parties other than final decisionmakers may be liable. See Staub v.

Proctor Hosp., 562 U.S. 411, 419 (2011); Vasquez, 835 F.3d at 274-75. Therefore,

the Court finds that a reasonable factfinder could find RPS a proximate cause of

housing unavailability, but would not necessarily do so.

       The parties’ arguments do not compel another decision. The only decision

Plaintiffs cite that is specific to proximate cause holds only that a fact-finder could

reasonably find proximate cause where there is another decisionmaker, not that

such a finding is compelled or that the opposite is unreasonable. See [Dkt. 136 at

5] (citing Staub v. Proctor Hosp., 562 U.S. 411, 419 (2011)) (reversing and remanding

Seventh Circuit court holding that defendant was entitled to judgment as a matter

of law, itself a reversal of the jury verdict).

       The three cases RPS cites also do not compel a grant of summary judgment.

RPS first cites Zabriskie v. Federal National Mortgage Association, 912 F.3d 1192


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(9th Cir. 2019), in which the Ninth Circuit considered whether an entity that

provided software that “automatically applies [underwriting] guidelines and

requirements” to consumer credit information input by a potential lender to assess

“a loan’s eligibility for purchase” was a consumer reporting agency such that it

could be held liable under the FCRA. Id. at 1195. In finding that the defendant could

not be held liable because it did not “evaluate” applications, the Ninth Circuit stated

the “commonsense principle” that “when a person uses a tool to perform an act,

the person is engaging in the act; the tool’s maker is not.” Id. But, the opinion was

amended, and the amended opinion omitted this reasoning, and instead based its

conclusion on the fact that the information gathered was used for a different

purpose than making consumer reports, a conclusion irrelevant to the instant

issue. Zabriskie v. Fannie Mae, 940 F.3d 1022, 1025 (9th Cir. 2019). Further, unlike

the instant case, the question was not of proximate cause but instead of the scope

of the FCRA. 912 F. 3d. at 1192.

      Next, RPS cites National Fair Housing Alliance v. Deutsche Bank, No.

18CV0839, 2018 U.S. Dist. LEXIS 196636 (N.D. Il. Nov. 19, 2018), in which the court

dismissed an    FHA claim that “Defendants’ [maintenance] delegation practice

resulted in poorly-executed property maintenance, which led to racially-disparate

effects,” finding that the claim alleged “chain-link causation” with “intermediate

steps” that the FHA does not permit. Id. at *38-39. But when considering a second

motion to dismiss the amended complaint, which alleged the same FHA claims as

those dismissed in the original complaint, the court found the plaintiffs had

sufficiently alleged proximate cause, noting that intervening Circuit decisions had



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rejected its previous “method of counting ‘steps’ between an action and an injury”

as too prone to manipulation by the counter. Nat'l Fair Hous. All. v. Deutsche Bank

Nat'l Tr., No. 18 CV 839, 2019 WL 5963633, at *5 (N.D. Ill. Nov. 13, 2019) (citing

Kemper v. Deutsche Bank AG, 911 F.3d 383 (7th Cir. 2018) and City of Miami v.

Wells Fargo & Co., 923 F.3d 1260 (11th Cir. 2019), cert. granted, judgment vacated

as moot sub nom. Wells Fargo & Co. v. City of Miami, Fla., 140 S. Ct. 1259 (2020))).

      For the same reason, the Court finds the reasoning cited by RPS

unpersuasive. RPS and WinnResidential acted hand-in-glove to deny Mr. Arroyo

housing. RPS allowed screening on the basis of charges that did not lead to a

conviction and allowed its customer to conceal from its line staff the basis for an

“unqualified” classification. In so doing RPS was an integral participant in the

denial of housing by WinnResidential to persons charged with an offense even

though the charges were dismissed. Parties cannot escape liability by sharing

decision making and shielding one another because no single entity is wholly

responsible.

      Third, RPS cites Republic of Iraq v. ABB AG, 920 F. Supp. 2d 517 (S.D.N.Y.

2013), a case in which the court considered a RICO claim against a bank that had

set up and serviced an escrow account, facts distant from the instant ones. The

plaintiff alleged that money was transferred out of the escrow account by a

fraudulent actor, the U.N. Id. In rejecting the claim for lack of proximate cause, the

court held that “because [the bank] BNP released and accepted funds into the U.N.

escrow account at the UN’s direction, however, BNP’s servicing of that account

cannot have been the proximate cause of Iraq’s injury. . . . Contingent relationships

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of this sort are too indirect to support [any] recovery. ” Id. at 550. But this case is

not analogous. RPS did not perform a ministerial or administrative function like

BNP; WinnResidential relied on RPS’s expertise, and WinnResidential’s options

were determined by RPS. RPS’s CrimSAFE product is unique, so its relationship

with its customer is not “contingent” in the way the bank’s was, and RPS

determined the framework of the criteria which its customers could use, so it was

not simply following a customer’s instructions.

                ii. Statistical Showing of Causation of Disparate Impact

     Plaintiffs and RPS both assert that there is no genuine issue of material fact

as to whether Plaintiffs have shown disparate impact. Plaintiffs assert that they

have. [Dkt. 118 at 18-24]. RPS asserts that Plaintiffs have not made the required

statistical showing and cannot do so. [Dkt.114 at 27-34.]. After considering the law

and the facts presented, the Court finds that Plaintiffs have presented sufficient

statistical evidence to put into dispute whether RPS’s practice of reporting housing

applicants’ criminal records to housing providers as potentially disqualifying

records has a disparate impact on African American and Latino people.

      Disparate impact liability exists where a discriminatory policy “actually or

predictably results in a disparate impact on a [protected] group…” 24 C.F.R. §

100.500(a) (emphasis added). “A robust causality requirement ensures that ‘[r]acial

imbalance… does not, without more, establish prima facie case of disparate

impact’ and thus protects defendants from being held liable for racial disparities

they did not create.” Texas Dep't of Hous. & Cmty. Affairs v. Inclusive Communities

Project, Inc., 135 S. Ct. 2507, 2523 (2015). “A plaintiff who fails to allege facts… or


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produce statistical evidence demonstrating a causal connection cannot make out

a prima facie case of disparate impact.” Id. “A plaintiff has not met its burden if it

merely raises an inference of discriminatory impact.” Tsombanidis, v. W. Haven

Fire Department, 352 F.3d 565, 575 (2d Cir. 2003) (appeal following bench trial). To

make out a prima facie case of disparate impact, “plaintiffs must… utilize the

appropriate comparison groups. They must first identify members of a protected

group that are affected by the neutral policy and then identify similarly situated

persons who are unaffected by the policy.” Tsombanidis, 352 F.3d at 576–77.

      National or state general population statistics may be used as the

appropriate comparison groups in at least three situations: First, national or state

statistics are appropriate where “there is no reason to suppose” that the local

characteristics would differ from the national statistics. Dothard v. Rawlinson 433

U.S. 321, 330 (June 27, 1977). 13 In Dothard v. Rawlinson, the Court held that use of

national height and weight statistics was appropriate to find a discriminatory effect

on Alabama women where “there was no reason to suppose that physical height

and weight characteristics of Alabama men and women differ markedly from those




13 Defendants cite Townsend v. Nassau Cty. Med. Ctr., 558 F.2d 117, 119 (2d Cir.
June 30 1977) for the proposition that “a statistic relating only to the general
population, and not to the employment practices of the particular defendant” is not
sufficient to demonstrate that a job prerequisite “operates to exclude” minorities.
Id. at 119-20. But that holding relies on an interpretation of Griggs v. Duke Power
Co., 401 U.S. 424, 431 (1971) that the Supreme Court had rejected just three days
before in Dothard. Compare Dothard, 433 U.S. at 330, with Townsend, 558 F.2d at
120. The case is also distinguishable, see infra.


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of the national population.” Id; see U.S. Dept. of Housing and Urban Development,

April 4, 2016 Office of General Counsel Guidance.

      Second, “studies based on general population data and potential applicant

pool data” may be the “initial basis of a disparate impact claim, especially in cases

[where] the actual applicant pool might not reflect the potential applicant pool, due

to a self-recognized inability on the part of potential applicants to meet the very

standards challenged as discriminatory.” E.E.O.C. v. Joint Apprenticeship Comm.

of Joint Indus. Bd. of Elec. Indus., 186 F.3d 110, 119 (2d Cir. 1999) (employment

discrimination context). In this situation, the potential applicant pool data may

provide a more accurate depiction of the true discriminatory impact than the actual

applicant pool data, though there is a question of who is reasonably a part of the

potential applicant pool. For instance, in Wards Cove Packing Co. v. Atonio, an

employment discrimination case, the Court held that a “proper comparison” in a

disparate impact case is “between the racial composition of the [at issue jobs] and

the racial composition of the qualified population in the relevant labor market,” so

the general population “cannot be used as a surrogate for the class of qualified job

applicant” for specialized job. 490 U.S. 642, 650-51 (1989). T

      Third, national or state general statistics are appropriate where actual

applicant data is not available. Hazelwood Sch. Dist. v. United States. 433 U.S. 299,

308-09 n.13 (1977). In Hazelwood, an employment discrimination case, the Court

held that data on pool of eligible candidates is appropriate to consider where

reliable actual applicant data was not available. Id. Defendants cannot insulate




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themselves from disparate impact claims by failing to keep records of the race of

applicants.

      The Second Circuit has signaled that it is open to statistics based on the

pool of potential applicants:

              [P]laintiffs might have been able to meet their burden by
              providing statistical evidence (1) that x% of all of the
              [members of protected class] in West Haven need (or
              have good reason) to live in the “group settings”
              prohibited by the facially neutral fire regulations at issue,
              (2) that y% of all of the [similarly situated persons outside
              the protected class] in West Haven need (or have good
              reason) to live in such group settings prohibited by the
              fire regulations, and, crucially, (3) that x is significantly
              greater than y.


Tsombanidis, 352 F.3d at 577. In that case, the defendant city and city fire

department set policies for landlords but were not themselves landlords. A post-

Inclusive-Communities Project case confirms the validity of the use of the potential

applicant pool: in Reyes v. Waples Mobile Home Park Ltd. P'ship, 903 F.3d 415, 428

(4th Cir. 2018), cert. denied sub nom. Waples Mobile Home Park Ltd. P'ship v. de

Reyes, 139 S. Ct. 2026, (2019), the Fourth Circuit found that plaintiffs sufficiently

alleged a prima facie case of disparate impact where they pled undocumented

immigrants constitute 36.4% of the Latino population in Virginia compared with

only 3.6% of the non-Latino population, demonstrating that Latinos are ten times

more likely than non-Latinos to be adversely affected by the policy requiring

documentation evidencing legal status.

      Here, it is undisputed that actual applicant data is unavailable. RPS does not

receive the race of housing applicants from its clients. And, even if a housing

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applicant is matched with a criminal record, the record only sometimes includes

the race of the applicant: RPS has no record of the race or ethnicity of

approximately 19% of the individuals who it reported had criminal records, where

the applicant had a Connecticut address and had applied to rent an apartment. [Dkt.

118-1 ¶84 n. 19].14

       In the place of statistics on actual applicants, Plaintiffs present

uncontroverted evidence that, nationally and in Connecticut, and at every income

level, African Americans and Latinos are more likely to be arrested than whites and

are more likely to be incarcerated than whites. [Dkt. 118-1 ¶¶ 72-82].15 Plaintiffs

present uncontroverted evidence that, nationally, African Americans and Latinos

are more likely to be arrested for federal drug crimes than whites, [Dkt. 118-1 ¶71],

and, in Connecticut, African Americans are more likely to be arrested than whites.

Compare Crime in Connecticut 201 at 29, with 2016 ACS 1-Year DP05. The question,

then, is whether the statistics offered by the Plaintiff reflect the experiences and

profiles of the eligible rental applicant pool for RPS’s Connecticut clients.




14 RPS argues that Plaintiffs should have taken discovery of WinnResidential to
gather this information, even if RPS itself did not have it. [Dkt. 129 at 18]. However,
Plaintiffs’ claims are not limited to ArtSpace Windham, to Plaintiff’s knowledge
WinnResidential no longer manages that property, and RPS has not produced the
list of properties using CrimSAFE in Connecticut. See [Dkt. 124 (Order on Mot. to
Compel)]. Therefore, the Court finds that Plaintiffs have not failed in their discovery
obligations.
15 Other courts have questioned whether incarceration data is a sufficient proxy

for conviction data but have not granted summary judgment on the basis of the
argument. See Fortune Soc'y v. Sandcastle Towers Hous. Dev. Fund Corp., 388 F.
Supp. 3d 145, 175-76 (E.D.N.Y. 2019).
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      The Court finds that this is a disputed question of fact because “although

the decisions of Plaintiff's experts to rely on a broader potential applicant pool

outside of the actual pool of… applicants is reasoned, adequately based in law and

sufficient for the Court to find the testimony admissible, the more tangential nature

of the analysis may diminish the weight a fact-finder would afford the conclusions.”

Fortune Soc'y v. Sandcastle Towers Hous. Dev. Fund Corp., 388 F. Supp. 3d 145,

176 (E.D.N.Y. 2019) (collecting cases and denying summary judgment on FHA

disparate impact claim on the basis of race discrimination where housing provider

allegedly did not accept tenants with criminal convictions). Specifically, the parties

dispute whether the statistics offered by Plaintiffs reflect the reasonable eligible

applicant pool on two bases: that Plaintiffs’ statistics are, at most granular, state-

wide, and that Plaintiffs’ statistics are not specific to city renters. After considering

the presented evidence, the Court finds that a reasonable fact-finder might find for

either party.

      First, the Court finds that there is a disputed question of material fact as to

whether Plaintiffs have presented sufficient evidence that Connecticut is the

market area of RPS’s Connecticut clients so that there is no gap between the

people reflected in the statistics offered by Plaintiffs and the eligible rental

applicant pool for RPS’s Connecticut clients. Connecticut is a small state

consisting of 4,842 square miles of land, with a water surface area of 701 square

miles. See U.S. Census Bureau, Geography Division, TIGERweb Decennial:

Connecticut (Census 2010), available at https://tigerweb.geo.census.gov/tigerweb/.

It is a commutable state serviced by three interstate highways, I-84, I91, and I-95,


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and several state highways which traverse the entirety of the state. See

Connecticut Department of Transportation, State Highway System Map (2019),

available at https://portal.ct.gov/DOT/PP_Bureau/Documents/Maps. Since RPS

serves more than 120 properties in the small state of Connecticut, [Dkt. 118-1 ¶

100], the entire state may be within the market area for one or more of the clients

served by RPS. See R.I. Comm'n for Human Rights v. Graul, 120 F. Supp. 3d 110,

125 (D.R.I. 2015) (granting plaintiff summary judgment on FHA disparate liability,

finding statewide rental market for housing complex in middle of small state served

by major highways); Fortune Soc'y, 388 F. Supp. 3d a 169 (denying both parties

summary judgment for 8 county market). Although RPS states “many of [its]

customers operate subsidized/affordable housing communities,” it does not

provide evidence that there are parts of the state which are not in the market area

for at least one of its clients. [Dkt. 114-4 ¶5]. But since “it is not the role of the

district court to make ultimate conclusions as to the persuasiveness of the

proffered evidence,” the Court does not grant the Plaintiffs summary judgment on

this issue. See Deutsch v. Novartis Pharm. Corp., 768 F. Supp. 2d 420, 434 (E.D.N.Y.

2011) (quoting Quiet Tech. v. Hurel–Dubois UK Ltd., 326 F.3d 1333, 1340–41 (11th

Cir.2003)).16




      16 There are two ways to collect data on arrests and convictions by race:
bottom-up, by asking individuals whether they have been arrested or convicted or
incarcerated in a certain time period, or top-down, by asking law enforcement
agencies, courts and prisons about the characteristics of who they have arrested,
convicted, and imprisoned in a certain period. Both have limits: it is difficult to
construct and administer a national- or state-representative survey of individuals
and their answers may not be accurate, and it is difficult to collect and harmonize


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      Next, the Court considers RPS’s argument that a reasonable fact finder could

not find Plaintiffs’ evidence specific enough to reflect the arrest profile of the pool

of applicants to affordable/subsidized rental housing in Connecticut. Were the

Court to find that RPS had demonstrated that the eligible rental applicant pool

should be narrowed to individuals eligible for and/or interested in subsidized and

affordable housing in cities, similar to the applicant pool for the ArtSpace

Windham, the relevant question would be whether theexperiences of African

Americans and Latinos statewide in terms of arrests and incarcerations differ from

the experiences of African Americans and Latinos eligible for and/or interested in

subsidized and affordable housing in cities in terms of arrests and incarcerations.

Plaintiffs have demonstrated that African Americans and Latinos face higher rates

of arrest and incarceration regardless of their income and regardless of their state

geography. This evidence gives the Court reason to believe that, since African

Americans and Latinos face higher rates of arrest regardless of their socio-

economic status, state-wide arrest and incarceration statistics reflect the arrest

and incarceration profile of the pool of applicants for affordable/subsidized

housing.




data from diverse criminal justice institutions. (This point is, in fact, the basis of
RPS’s business model. See Dkt. 114-1 ¶13.).
       Here, there is an additional question of who the appropriate pool is: while
this case is focused on Connecticut, a Connecticut housing applicant may have,
like Mr. Arroyo, a criminal record from another state or from the federal
government, so top-down statistics from Connecticut criminal justice institutions
only may not completely capture the criminal record of Connecticut housing
applicants. However, Plaintiffs provide national data in addition to state-level data,
and RPS does not argue that there are state-by-state disparities not captured by
national level data.
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      RPS argues at length that there is a large variation in the population

demographics within Connecticut. It provides evidence that the percentage of the

population who is African American and the percentage of the population who is

Latino differs between Connecticut cities and Connecticut suburbs or rural areas,

and between renters looking for affordable or subsidized housing and those who

are not. [Dkt. 114-1 ¶¶56-57]. But RPS’s population statistics do not definitively

speak to the key question: whether differences in rates of arrest and incarceration

by race and ethnicity differ between geographic localities and income levels and

propensity to rent. For example, the fact that 38% of the population of Hartford is

African-American while 7% of the population of Willimantic is African-American,

[Dkt. 114-5 at Ex. I], does not necessarily say anything about whether the arrest

rate of African Americans in Willimantic is more or less disproportionately high

than the arrest rate of African Americans in Hartford. See Inclusive Communities

Project, 135 S. Ct. at 2522 (cautioning against drawing conclusions about policies

from bare statistical disparity). RPS simply has not given the Court any definitive

“reason to suppose that” relative rates of criminal justice experience of urban

Connecticut renters “differ markedly from those of the [Connecticut] population.”

See Dothard, 433 U.S. at 330.

      RPS’s cases are not to the contrary, as they are all from the employment

discrimination context. See [Dkt. 114 at 20-24]; Townsend v. Nassau County

Medical Center, 558 F.2d 117 (2d Cir. 1997) (finding that national data on those with

and without college degrees insufficient to answer question about populations with

and without a B.S. degree); Mandala v. NTT Data, Inc., No. 18-CV-6591 CJS, 2019


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WL 3237361, at *4 (W.D.N.Y. July 18, 2019) (finding that national statistics regarding

conviction and arrests could not be assumed to reflect statistics for those qualified

to be “viable candidates” for positions of Salesforce and web developers ); Wards

Cove Packing Co. v. Atonio, 490 U.S. at 650 (finding that statistics on cannery

workers insufficient given question of who would be qualified to be managers);

Chin v. Port Auth. of New York & New Jersey, 685 F.3d 135, 152 (2d Cir. 2012)

(finding data on all employees insufficient given question of who was eligible for a

promotion among employees who had passed required test). But the employment

discrimination context is materially different from the housing context because

jobs often require unusual additional qualifications—consider the requirements

described in the cases above—and so there is a reason to suppose that the

characteristics of the “eligible labor pool” differ in systematic and relevant ways

from the characteristics of the general state population. Chin, 685 F.3d at 152. 17 In

contrast, “eligibility” for renting an apartment largely depends on income and

geographic preference, characteristics Plaintiffs have accounted for.

      In its reply brief, RPS argues that, without evidence of the number of African

Americans and Latinos who apply to rent housing from RPS’s Connecticut clients,

Plaintiffs cannot prove a prima facie case. In support, it cites Ungar v. New York

City Hous. Auth., 363 F. App'x 53, 56 (2d Cir. 2010) (Summary Opinion):



17In the employment discrimination context, “in the typical disparate impact case
the proper population for analysis is the applicant pool or the eligible labor pool.”
Chin v. Port Auth. of New York & New Jersey, 685 F.3d 135, 152 (2d Cir.
2012).17RPS’s citation of this authority omits the phrase, “the eligible labor pool,”
a mis-citation which incorrectly heightens the standard statistics must meet to be
acceptable. [Dkt. 114 at 19-20].

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      To know whether TSAP has disparate impact on Hasidic Jews, we
      would need to know, at a minimum, the percentage of the
      approximately 80,000 people who apply for public housing each year
      that is Hasidic. Because plaintiffs have not provided this information,
      they failed to establish a prima facie case of discrimination.

      But in light of the support of Tsombiandis, 352 F.3d at 577, and Reyes, 903

F.3d at 428m for the use of a potential applicant pool, and in light of the distinction

that the instant Plaintiffs have offered a causal story for the disparate impact while

the Ungar plaintiffs did not, the Court does not find Ungar persuasive.

      Finally, RPS argues, without legal citation, that even if there is a disparate

impact, it is not “substantial,” as fewer than 7% of all rental housing applicants in

Connecticut between 2016 and the present have had any “record found” through

CrimSAFE. [Dkt. 114 at 16-17]; [Dkt. 114-1 ¶11]. In the Second Circuit, “courts

should take a ‘case-by-case approach’ in judging the significance or substantiality

of disparities, one that considers not only statistics but also all the surrounding

facts and circumstances.” Chin v. Port Auth. of New York & New Jersey, 685 F.3d

135, 153 (2d Cir. 2012) (quoting Waisome v. Port Auth. of N.Y. & N.J., 948 F.2d 1370,

1376 (2d Cir.1991)). Disparate impact claims have been found valid even where a

relatively small percentage of individuals are affected. See, e.g., Jones v. City of

Bos., 752 F.3d 38, 44-45, 52-53 (1st Cir. 2014) (disparate impact was established

even though less than 1% were affected by neutral rule). Here, in light of the facts

discussed above and below, the Court finds that Plaintiffs have provided sufficient

evidence to put into question whether there is a disparate impact.

      For these reasons, the Court does not grant either party summary judgment

as to this issue.


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          2. Business Purpose

      If a statistical disparate impact is shown, the “defendant has the burden of

proving that the challenged practice is necessary to achieve one or more

substantial, legitimate, nondiscriminatory interests,” 24 C.F.R. § 100.500(c)(2).

“HUD has clarified that this step of the analysis ‘is analogous to the Title VII

requirement that an employer's interest in an employment practice with a disparate

impact be job related.’” Inclusive Communities Project, Inc., 135 S. Ct. at 2514-15.

(quoting Implementation of the Fair Housing Act's Discriminatory Effects Standard,

78 Fed.Reg. 11460, 11470 (2013)). Here, any business justification must address

(a) why excluding applicants with arrests and convictions is justified and (b) why

categorizing criminal records is justified. As to (a), RPS argues first that screening

for arrests and convictions is legally required for federally subsidized properties

and, second, screening for arrests and convictions is permitted to protect health

and safety; as to (b), RPS argues CrimSAFE’s categorization has unique

advantages in accurately categorizing the risk level of arrests and convictions, as

well as in minimizing bias in the screening process. [Dkt. 129 at 33-38; Dkt. 114 at

24-26].

      Landlords of federally-assisted housing must reject applicants recently

evicted for drug activity or who are registered sex offenders and must perform

“necessary criminal history background checks in the State where the housing is

located and in other states where the household members are known to have

resided.” 24 C.F.R. §§ 5.856; see 24 C.F.R. § 5.854. With respect to an applicant

“evicted… for drug-related criminal activity,” landlords must consider individual

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factors, such as whether the individual has completed a rehabilitation program or

no longer resides with household members seeking housing, though a tenant may

have been evicted without satisfying a criminal conviction standard of proof for the

activity. 24 C.F.R. §§ 5.854(a), 5.861. But these statutes do not provide a justification

in this case because they apply to only a very narrow set of applicants—sex

offenders and applicants who have previously been evicted for drug-related

criminal activity—of which Mr. Arroyo is not one.

      42 U.S.C. § 13661(c) permits criminal background screening to detect any

other criminal activity that would harm the “health, safety, or right to peaceful

enjoyment of the premises by other residents the owner, or public housing-agency

employees.” Except in limited circumstances not applicable here, a consumer

reporting agency may not make a consumer report containing “records of arrest

that, from date of entry, antedate the report by more than seven years or until the

governing statute of limitations has expired, whichever is the longer period.” 15

U.S.C. § 1681c(a)(2). Under the statute, a record of a conviction of a crime which

antedates the report by more than seven years may be included. Id. at 1681c(a)(5).

RPS suggests that because 15 U.S.C. § 1681c allows screening reports to reflect

the criminal records for up to seven years for non-convictions and for no time limit

for convictions, Plaintiffs cannot challenge the time periods under the FHA. [Dkt.

129 at 33] (quoting Eldred v. Ashcroft, 537 U.S. 186, 208 (2003) (“[C]ourts are not at

liberty to second-guess congressional determinations and policy judgments…,

however debatable or arguably unwise they may be”)).




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      RPS provides neither legal nor empirical support for the proposition that the

lone fact that an applicant has a pending arrest record is sufficient for a housing

provider to determine that an individual poses a threat to the health and safety of

a residential community, although it does provide sufficient evidence to put into

dispute whether an older conviction is sufficient evidence of a threat to health and

safety.

      15 U.S.C. § 1681c and 42 U.S.C. § 13661(c) do not establish that Congress

determined that a pending arrest record alone may be the basis for a housing

denial. “It is at best treacherous to find in congressional silence alone the adoption

of a controlling rule of law.” United States v. Wells, 519 U.S. 482, 496 (1997) (quoting

NLRB v. Plasterers' Local Union No. 79, 404 U.S. 116, 129–130 (1971)). 15 U.S.C. §

1681c does not explicitly endorse the use of screening reports reflecting criminal

records of non-convictions and older convictions; it only does not prohibit them.

      The statute’s silence is especially treacherous in light of the answering

silence in the FHA. The FHA states that its protections do not apply to any decision

denying housing because an applicant “has been convicted by any court of

competent jurisdiction of the illegal manufacture or distribution of a controlled

substance.” 42 U.S.C. § 3607(b)(4). If silence speaks, then “the specific carveout

for drug convictions provides a strong inference that Congress presumed the Act

could sometimes require housing providers to overlook other types of criminal

records to avoid having discriminatory effects on members of protected

classes….” Simmons v. T.M. Assocs. Mgmt., Inc., 287 F. Supp. 3d 600, 603 (W.D.

Va. 2018).



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      And this interpretation of congressional silence has been validated by the

administering agency: HUD has released guidance that clarified that an arrest

record by itself—in the absence of consideration of a police report or other

additional facts—may not be the basis for denying admission, terminating

assistance, or evicting tenants from public and other federally-assisted housing,

see Guidance for Public Housing Agencies (PHAs) and Owners of Federally-

Assisted Housing on Excluding the Use of Arrest Records in Housing Decisions,

HUD     PIH     Notice    2015-19,     (November       2,   2015),     available    at:

http://portal.hud.gov/hudportal/documents/huddoc?id=PIH2015-19.pdf

(hereinafter “HUD Nov. 2, 2015 Guidance”).

      HUD states “that the fact that an individual was arrested is not evidence that

he or she has engaged in criminal activity” sufficient to warrant denial of

admission.” Id. at 3. A housing owner may only “make an adverse housing decision

based on the conduct underlying an arrest if the conduct indicates that the

individual is not suitable for tenancy and the PHA or owner has sufficient evidence

other than the fact of arrest that the individual engaged in the conduct,” “such as

police reports detailing the circumstances of the arrest, witness statements, and

other relevant documentation to assist them in making a determination that

disqualifying conduct occurred.” Id. at 3-4. This requirement that housing owners

look at conduct is specific to arrests: “reliable evidence of a conviction for criminal

conduct that would disqualify an individual for tenancy may also be the basis for

determining that the disqualifying conduct in fact occurred.” Id. at 3.




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      This guidance is not a product of notice-and-comment and is neither

binding, Ctr. for Auto Safety v. Nat'l Highway Traffic Safety Admin., 452 F.3d 798,

807 (D.C. Cir. 2006), nor entitled to Chevron deference. Christensen v. Harris Cty.,

529 U.S. 576, 587 (2000) (“ Interpretations contained in policy statements… do not

warrant Chevron-style    deference.”)   (citing Chevron    U.S.A.   Inc.   v.   Natural

Resources Defense Council, Inc., 467 U.S. 837 (1984)). Rather, this guidance is

accorded weight according to Skidmore v. Swift & Co., 323 U.S. 134 (1944). Id.

“Under Skidmore, the weight [courts] accord an agency interpretation depends

upon “the thoroughness evident in its consideration, the validity of its reasoning,

its consistency with earlier and later pronouncements, and all those factors which

give it power to persuade.” Boykin v. KeyCorp, 521 F.3d 202, 208 (2d Cir. 2008)

(quoting Skidmore, 323 U.S. 134); see also United States v. Mead Corp., 533 U.S.

218, 228 (2001).

      Here, the Court finds that the November 2, 2015 HUD Guidance is persuasive:

it is thorough, synthesizing a review of the relevant case law, a review of the

specifics of the governing regulations, and relevant governmental statistics

regarding arrests. Id. at 3-4. Its reasoning is careful, drawing a distinction between

relying on an arrest record itself and other evidence of the conduct underlying the

arrest. And it is consistent with later pronouncements, particularly the April 4, 2016

HUD Guidance. Therefore, the Court finds that the November 2, 2015 Guidance

undermines RPS’s claim that 15 U.S.C. § 1681c and 42 U.S.C. § 13661(c) establish

the time limits during which a pending arrest charge or an old conviction alone may

be the basis for a housing application denial.


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      With regard to empirical evidence, RPS provides that the federal Bureau of

Justice Statistics has found that 83% of released prisoners are arrested again

within 9 years, with an average of 5 arrests per released prisoner. [Dkt. 114-1 ¶59].

18% of violent victimizations took place in the victim’s home, 16% took place near

the victim’s home, and 9% took place at a friend’s, neighbor’s, or relative’s home.

Id. ¶ 60. In response, Dr. Lila Kazemian, one of Plaintiff’s offered experts, stated

that “anybody who has their name already in the system becomes more likely to

have more contacts with the criminal justice system,” such that individuals who

were previously arrested have elevated statistical levels of re-arrest. [Dkt. 129-1

¶14]. She also states that, based on her review of the relevant academic literature,

“[t]here is no compelling empirical evidence to suggest that old criminal records

are predictive of future offending” because “the more time that passes since the

last crime, the less likely it is that the individual will engage in the crime in the

future.” [Dkt. 118-1 ¶95].

      This evidence puts into dispute whether individuals with old convictions

may be excluded to protect health and safety, especially since the term “old

conviction” remains undefined and is used to mean convictions from five to ninety-

nine years old. But none of this evidence supports the proposition that individuals

with pending arrests are threats to health and safety. The evidence from the Bureau

of Justice Statistics does not speak to the dangerousness of individuals who have

been arrested, but not charged. Dr. Kazemian’s comments only beg the question

of the dangerousness of arrestees: the fact that someone who has been arrested

once is more likely than others to be arrested again only demonstrates that



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whatever characteristics are associated with being arrested likely persist over

time—and many characteristics, including implicit bias, cultural incompetence,

race and place of residence, persist over time.18


      This evidence demonstrates that there is a material dispute of fact as to

whether there is a business justification for screening for old convictions, that is,

whether the justifications offered by RPS, with the support offered by RPS,

demonstrate that screening for old convictions is “necessary” to achieve one or

more substantial, legitimate, nondiscriminatory interests. But, in light of the HUD

Guidance and empirical evidence cited, no reasonable fact finder could find that

there is a business justification for screening solely on the basis that someone has

a pending arrest, in the absence of the details of the arrest.




18
  Neither party presents any evidence of the percentage of arrests that lead to
convictions or other measurements of risk. But, as an aside, the Court notes that
state and local government data demonstrate that conviction rates have changed
over time and that they vary considerably depending on the charge. Compare Brian
A. Reaves, Bureau of Justice Statistics, U.S. Dep’t of Justice, Felony Defendants in
Large      Urban      Counties,      2009,    at     22,     Table     21    (2013),
http://www.bjs.gov/content/pub/pdf/fdluc09.pdf (in the 75 largest counties in the
United States in 2009, approximately one-third of felony arrests did not result in
conviction, with about one-quarter of all cases ending in dismissal.), cited by U.S.
H.U.D., Office of Public and Indian Housing, Guidance for Public Housing Agencies
(PHA) and Owners of Federally-Assisted Housing on Excluding the Use of Arrest
Records in Housing Decisions, (PIH 2015-19; Nov. 2. 2015) at 3 n. 8, with, Issa
Kohler-Hausmann, Misdemeanorland: Criminal Courts and Social Control in an
Age of Broken Windows Policing 68-69 (2018) (author’s analysis of data from New
York State Department Division of Criminal Justice Services showing that, in New
York City between 2010 and 2015, more than 50 percent of misdemeanor arrests
were dismissed, an increase from the 1985 dismissal rate), with, Malcolm Feeley,
The Process is the Punishment: Handling Cases in a Lower Criminal Court at xxviii,
127 (1979) (author’s analysis of 1970s New Haven Court of Common Pleas
dispositions).
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       The offered evidence is especially insufficient in the face of the bedrock

principle of our legal system that a person who is arrested is presumed innocent –

and that innocence alone does not undermine probable cause to arrest. See

Schware v. Bd. of Bar Exam’rs, 353 U.S. 232, 241 (1957) (“The mere fact that a man

has been arrested has very little, if any, probative value in showing that he has

engaged in any misconduct. An arrest shows nothing more than that someone

probably suspected the person apprehended of an offense.”); United States v. Di

Re, 332 U.S. 581, 595 (1948) (“the presumption of innocence is not lost or impaired

by neglect to argue with a policeman”); Coffin v. United States, 156 U.S. 432 (1895)

(“the principle that there is a presumption of innocence in favor of the accused is

the undoubted law, axiomatic and elementary, and its enforcement lies at the

foundation of the administration of our criminal law.”); Illinois v. Wardlow, 528 U.S.

119, 126 (2000) (“Indeed, the Fourth Amendment accepts that risk in connection

with more drastic police action; persons arrested and detained on probable cause

to believe they have committed a crime may turn out to be innocent.”); Panetta v.

Crowley, 460 F.3d 388, 395–96 (2d Cir. 2006) (“an officer's failure to investigate an

arrestee's protestations of innocence generally does not vitiate probable cause” to

arrest).

       And even if RPS had demonstrated that screening for old convictions

indisputably contributes to safety, a dispute remains whether CrimSAFE, which

characterizes and categorizes criminal records, allows property managers to more

quickly and accurately screen for these safety risks. Compare [Dkt. 120 (Jay Kacirk

Decl.) at 3, 6, 9, 11] & [Dkt. 128-3 ¶26] (applicants dispute RPS’s tenant screening



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reports in less than 1% of instances), with, e.g., [Dkt. 116-31 (Ex. 28: Kazemian Rep.)

at 2] (estimating that industry-wide, approximately 30% of criminal history reports

contain inaccuracies). The parties also dispute whether CrimSAFE helps to remove

potential explicit or implicit bias at the individual property manager level, or

whether it gives individual property managers more information. Compare [Dkt.

114-2 (Kayani Decl.) ¶¶18, 19], with id. at Ex. C at p. 4 (CrimSAFE result listing a

“race” category, but listing Mr. Arroyo’s race as “unknown”).

      Finally, RPS makes two additional arguments: first that the Court should not

rely solely on statistics, as some crimes, though low probability, may have

dramatic consequences on a community; and second, that the Court should

consider the liability for failing to review criminal records that housing providers

might face. [Dkt. 129 at 38-39]. But, as the Court will go on to note, the alternative

to CrimSAFE is returning more detailed reports of criminal records to line staff

decisionmakers, rather than not returning criminal records reports at all. This

alternative does not ignore the possibility of a low probability event, but allows for

it, and the Court sees no reason why the alternative would necessarily lead to

worse community consequences or greater housing provider liability.

      For these reasons, Court finds that RPS and Plaintiffs provide sufficient facts

to demonstrate the existence of a material dispute as to whether there is a business

purpose for screening for convictions and denies the parties’ motions for summary

judgment on that basis. But the Court finds that the Plaintiffs have shown that there

is no business justification for screening applicants on the basis of the fact of a

pending arrest alone.

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         3. Less Discriminatory Alternatives

      After a defendant has shown a legitimate business interest for its facially

neutral practice, the burden shifts to the Plaintiffs to show that there is a “less

discriminatory alternative,” which must be 24 C.F.R.§ 100.500(c)(3). “[A] a less

discriminatory alternative must serve the respondent's or defendant's substantial,

legitimate nondiscriminatory interests, must be supported by evidence, and may

not be hypothetical or speculative.” Implementation of the Fair Housing Act's

Discriminatory Effects Standard, 78 Fed. Reg. at 11,473 (Feb. 15, 2013); see also

Inclusive Communities Project, 135 S. Ct. at 2518 (stating that before rejecting a

business or public interest, "a court must determine that a plaintiff has shown that

there is 'an available alternative . . . practice that has less disparate impact and

serves the [entity's] legitimate needs'" (emphases added)).

      In their motion for summary judgment, Plaintiffs advance four less

discriminatory alternatives to achieve the goals of protecting safety and property:

(1) RPS could exclude arrests that have not or did not result in a conviction from

being considered as a basis for a CrimSAFE decision; (2) RPS could set a

“reasonable, evidence-based” cap on the lookback period for convictions, and

exclude older arrests from being considered as a basis for a CrimSAFE decision;

(3) RPS could evaluate each criminal record on an individualized basis by

considering the record and relevant mitigating circumstances outside the criminal

record itself to determine the actual risk to safety before reporting a housing

provider that the applicant is disqualified; and (4) RPS could provide the underlying

information about the criminal history to the housing provider without providing a

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leasing decision the landlord can do an individualized assessment. [Dkt. 118 at 29

-31].

        RPS first argues that the first two alternatives are precluded under Rule 37(c)

because plaintiffs did not disclose these “alternatives” during discovery. [Dkt. 129

at 41-42]. Rule 37(c)(1) states that “[i]f a party fails to provide information or identify

a witness as required by Rule 26(a) or (e), the party is not allowed to use that

information or witness to supply evidence on a motion, at a hearing, or at a trial,

unless the failure was substantially justified or is harmless.” Fed. R. Civ. P. 37. Rule

26(e)(1) states: “A party who has made a disclosure under Rule 26(a)—or who has

responded to an interrogatory, request for production, or request for admission—

must supplement or correct its disclosure or response in a timely manner. . . .” Fed.

R. Civ. P. 26(e)(i).

        This argument is unavailing. Far from sandbagging RPS, Plaintiff produced

all relevant information during discovery. When RPS asked Plaintiffs to “describe

… the factual basis of your [Complaint’s] allegation that there exist ‘less

discriminatory alternatives’,” Plaintiffs responded that RPS “has available to it the

less discriminatory alternative of . . . consideration of such factors as the … the

outcome or disposition of the case” and “the amount of time since the criminal

activity occurred” (emphasis added). [Dkt. 136-1 (Pl.’s Reply Facts) ¶¶ 47, 109]. In

addition to the interrogatory response, Plaintiffs disclosed expert reports to RPS,

which specifically included that “arrest[s] … should not even be included” in

CrimSAFE.”, id. ¶ 14, and that an appropriate “guideline for policy” based on the




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empirical studies is “five to nine years” provided this is considered “in conjunction

with some of the other factors” the expert had discussed. Id.

      Although RPS argues that the Rule 26(e) burden applies to “theories,” in

addition to information, it cites only Agence France Presse v. Morel, 293 F.R.D. 682,

686 (S.D.N.Y. 2013), in support. See [Dkt. 129 at 41-42]. But, there the “theory” at

issue was a damages calculation, Morel, 293 F.R.D. at 686, and Rule 26 specifically

requires parties to disclose “a computation of each category of damages claimed

by the disclosing party.” There is no corresponding Rule or regulation requiring

discovery disclosure of less discriminatory alternative theories. So, the Court

considers the alternatives on their merits.

      First, the Court finds that it is undisputed that RPS could cease considering

arrests that do not result in conviction. However, since disputes of fact remain as

to whether this would diminish the disparate impact caused by excluding such

people, this is not a basis in and of itself for a grant of summary judgment.

      As to the second alternative, a “reasonable, evidence-based” cap on the

lookbook period for conviction is not sufficient to win Plaintiffs’ summary

judgment as too many disputed facts remain. First, Plaintiffs do not specify what

an “evidenced-based” number of years, and Plaintiffs’ expert could not specify

what she thought was an “evidence-based” lookback period for any particular

CrimSAFE category of crime. [Dkt. 132 at 228-29]. The Court cannot find that RPS

could undertake an alternative the outline of which even Plaintiffs do not know.

Second, the number of years is in dispute in light of the BJS study discussed

above.



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      Plaintiffs’ third alternative fails because, as RPS points out, RPS does not

have the majority of the information that would lead to a leasing decision. It

receives an applicants’ identifying information. [Dkt. 118-1 ¶14]. It then returns

information about the applicant’s offense record, if any. Id. ¶19. But it does not

have other information, and so it could not itself undertake a holistic individualized

review of the applicant. Since there is no evidence that RPS’s clients would give

RPS such information, it is speculative and not truly available. See ICP at earlier

cite; Allen v. City of Chicago, 351 F.3d 306, 313-14 (7th Cir. 2003) (On appeal of

summary judgment, “Without any evidence that the officers’ alternative of

increasing merit promotions would lead to a workforce substantially equally

qualified, we cannot accept the officers’ alternative as substantially equally valid.”).

      Plaintiffs’ fourth alternative is not a satisfactory basis for summary judgment

in their favor. At a minimum, RPS provides its clients with the option to view the

underlying criminal report information, though the client may choose suppress that

information from on-site managers and other levels of administrators. [Dkt. 118-3

at ARROYO0001750]. The parties submit dueling evidence on whether RPS always

provides at least one person in the client company with access to the full records,

or whether RPS may prevent everyone at the company from accessing the full

records, so it is disputed. Compare id. (From 2016 training, “Consider the Backup

Reports setting on this screen as the “MAIN SWITCH” for making backup reports

viewable. When unchecked, NO USERS will have access to criminal backup

reports, not even administrators.” ) with [Dkts. 129-2 (Kayani Decl.) at ¶¶ 11 (“The

CrimSAFE section of a report is always accompanied by another portion of the


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report that displays the full public data of any record(s) identified via CrimSAFE,

including the date the offense was committed, the severity level, and its current

status…. The administrative version of the report, with the full details of any

records found by the CrimSAFE product, is made available to the identified

supervisor(s) at the customer simultaneous with the leasing-agent version of the

report via hyperlink., 24, Ex. D (Arroyo BackUp Report)] and [Dkt. 129-3 (Dacthler

Decl.) at 18]. While RPS responds that CrimSAFE should include the full criminal

history with every report, and eliminate the features that enable suppression of

details, there is, as explained above, a dispute of facts as to whether there is a

legitimate business justification for RPS’s suppression.

      Because of these remaining factual disputes, the Court denies the parties’

motions for summary judgment as to Plaintiffs’ FHA claim for disparate impact on

the basis of race. These claims will proceed to trial.

   C. Fair Housing Act Claim for Disparate Treatment on the basis of Race or
      National Origin
      RPS argues that Plaintiffs’ FHA claim for discriminatory treatment on the

basis of race or national origin in Count I must fail because there is no evidence of

racial animus because RPS was not aware of Mr. Arroyo’s race or ethnicity. [Dkt.

114 at 15-17]. In response, Plaintiffs argue that the Court can and should consider

the “totality of the circumstances” to determine the disparate treatment claim on

the basis of race [or national origin], and that such evidence suffices for the claims

to proceed to trial. [Dkt. 126 at 25-29]. The Court agrees with Plaintiffs.

      “Discriminatory    intent   may   be     inferred   from   the   totality   of   the

circumstances.” L.C. v. LeFrak Org., Inc., 987 F. Supp. 2d 391, 400 (S.D.N.Y. 2013)

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(quoting Reg'l Econ. Cmty. Action Program, Inc. v. City of Middletown, 294 F.3d 35,

48 (2d Cir.2002)). “A plaintiff can establish a prima facie case of disparate treatment

‘by showing that animus against the protected group was a significant factor in the

position taken by the municipal decision-makers themselves or by those to whom

the decision-makers were knowingly responsive.’” Mhany Mgmt., Inc. v. Cty. of

Nassau, 819 F.3d 581, 606 (2d Cir. 2016)(government actor context) (quoting

LeBlanc-Sternberg v. Fletcher, 67 F.3d 412, 425 (2d Cir. 1995)) “Because

discriminatory intent is rarely susceptible to direct proof, a district court facing a

question of discriminatory intent must make ‘a sensitive inquiry into such

circumstantial and direct evidence of intent as may be available. The impact of the

official action whether it bears more heavily on one race than another may provide

an important starting point.’” Ibid. (2d Cir. 2016) (quoting Village of Arlington

Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266, (1977)). “But unless a ‘clear

pattern, unexplainable on grounds other than race, emerges,’ ‘impact alone is not

determinative, and the Court must look to other evidence.’” Id. (quoting Arlington

Heights, 429 U.S. at 266); see Columbus Bd. of Ed. v. Penick, 443 U.S. 449, 464

(1979) (“disparate impact and foreseeable consequences, without more, do not

establish a constitutional violation.”).19 Other relevant considerations for



19 See also Soberal-Perez v. Heckler, 717 F.2d 36, 42 (2d Cir. 1983) (“while it is true
that…. the fact that a particular action has a foreseeable adverse impact may be
relevant evidence in proving an equal protection claim… standing alone that fact
is insufficient to establish discriminatory intent”); Washington v. Davis, 426 U.S.
229, 241-42 (1976 (discriminatory impact alone does not show discriminatory intent
but it is a relevant factor to consider along with the totality of relevant facts). See
also United States v. City of New York, 717 F.3d 72, 82 (2d Cir. 2013); United States


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discerning a racially discriminatory intent include” ‘[t]he historical background of

the decision ... particularly if it reveals a series of official actions taken for invidious

purposes,’ ‘[d]epartures from the normal procedural sequence,’ ‘[s]ubstantive

departures,’ and ‘[t]he legislative or administrative history ... especially where there

are contemporary statements by members of the decisionmaking body, minutes of

its meetings, or reports.’” Id. (quoting Arlington Heights, 429 U.S. at 266-68).

“Questions of subjective intent can rarely be decided by summary judgment.”

United States v. City of New York, 717 F.3d 72, 82 (2d Cir. 2013) (citing Harlow v.

Fitzgerald, 457 U.S. 800, 816 (1982)) (claim for disparate treatment in hiring under

Title VII).

       Here, Plaintiffs point to evidence that, as of mid-April of 2016, RPS was aware

that its CrimSAFE screening product’s use of arrest records may have a

disproportionate and arbitrary effect on African Americans and Latinos, and that it

has not taken affirmative steps to end its screening product’s use of those records.

     On April 4, 2016, HUD’s Office of General Counsel published a document titled

Application of Fair Housing Act Standards to the Use of Criminal records by

Providers of Housing and Real Estate-Related Transactions, in which it stated

“Nationally, racial and ethnic minorities face disproportionately high rates of arrest

and incarceration,” and that, “the fact of an arrest is not a reliable basis upon which

to assess the potential risk to resident safety or property posed by a particular




v.   City     of   Yonkers,   96   F.3d    600,   603    (2d   Cir.   1996)    (post-trial).




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individual.” HUD OGC 4/4/2016 Guidance at 3-5. On April 15, 2016—over a week

before Mikhail Arroyo’s application—RPS shared with some of its clients an email

which highlighted (a) per HUD, arrest records that don’t result in convictions are

not reliable bases to assess the potential risk resident safety or property; and (b)

“according to HUD, a blanket policy to deny any applicants with a criminal record

may have a disparate impact on African Americans and Hispanics.” [Dkt. 125-17 at

2]; see also [Dkt. 125-18]. The email also stated that RPS was considering changes

to its products:

      RPS is currently reviewing our products to determine what changes,
      if any, to make in order to best support our clients in light of this new
      guidance from HUD. Once this review is complete, any changes will
      be communicated to clients with enough notice to allow for clients to
      adjust their processes.


[Dkt. 125-17 at 3]. But, as of September 5, 2019, Stephanie Dacthler, a Relationship

Manager for RPS, was not aware of any changes made to CrimSAFE based on the

HUD Guidance. [Dkt. 118-8 at 75:18-23].

      This scenario is far from one in which “the issue of race was first introduced

[to the defendants] upon filing this action.” Cf. Favourite v. 55 Halley St., Inc., 381

F. Supp. 3d 266, 280 (S.D.N.Y. 2019) (granting summary judgment on disparate

treatment claim). Instead, there is at least a disputed question of fact as to whether

RPS’s decision to continue to allow its housing clients to use CrimSAFE to screen

for arrest records in the face of the legal interpretation of HUD’s Office of General

Counsel that African Americans and Latinos are disproportionately more likely to

be arrested is motivated by discriminatory intent. For this reason, the Court denies




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RPS’s motion for summary judgment as to the FHA claim for disparate treatment

on the basis of race or ethnicity. The claim will proceed to trial.

   D. FCRA Claims

   In Count IV and V of the Complaint, Plaintiffs allege that RPS violated the Fair

Credit Reporting Act (“FCRA”), specifically, 15 U.S.C. §§ 1681g and 1681h, by

failing to disclose Mikhail Arroyo’s file to Carmen Arroyo and by failing to establish

reasonable requirements for proper identification, and that such violations were

both negligent and “willful.”

      The FCRA balances protecting individuals from identity theft by requiring

the submission of personally-identifying information before disclosure with

promoting access to consumer files by minimizing the personally-identifying

information required. 15 U.S.C. § 1681g requires that a consumer reporting agency

“shall, upon request, and subject to section 1681h(a)(1) of this title, clearly and

accurately disclose to the consumer… all information in the consumer’s file at the

time of the request.” Section 1681h(a)(1) in turn provides that “a consumer

reporting agency shall require, as a condition of making the disclosures required

under section 1681g of this title, that the consumer furnish proper identification.”

      The FCRA does not define “proper identification,” however, and the case law

illustrates how the tension between its two goals has frustrated courts’ filling in of

the gap. In Howley v. Experian Info. Sols., Inc., a court denied the defendant’s

motion for summary judgment on the plaintiff’s § 1681h(a) claim against a

consumer reporting agency for disclosing his information to a third party who

shared the same first name as the plaintiff and shared all digits but the last of his

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social security number. 813 F. Supp. 2d 629 (D.N.J. 2011). There, the court found

that there was a question of fact as to whether the agency had disclosed the

information without proper identification. 813 F. Supp. 2d 629. Id. On the other

hand, in Menton v. Experian Corp., a court denied a related defendant’s motion to

dismiss a plaintiff’s § 1681g(a) claim for failing to disclose his file where he had

provided a copy of his driver’s license, a bank statement with his name and

address, his law firm website, and a notarized copy of his signature. No. 02 CIV.

4687 (NRB), 2003 WL 941388, at *1 (S.D.N.Y. Mar. 6, 2003). There, the court held that

there was “no reason that Experian could not have verified Mr. Menton’s identity

and provided him with his credit report soon after receiving the various alternative

forms of identification which he did furnish.” Id. at 3. By Menton’s lights, proper

identification may include documents whose validity is determined by local state

law: for example, state driver’s licenses, or notarized documents, such as a power

of attorney or written authorization. See, e.g., id.

      A consumer reporting agency must implement consumer identification

requirements that “ensure that the information is sufficient… to match consumers

with their files” and “commensurate with an identifiable risk of harm arising from

misidentifying the consumer.” 12 C.F.R. § 1022.123(a). RPS, a nationwide specialty

consumer reporting agency, must implement a file disclosure which “[c]ollect[s]

only as much personal information as is reasonably necessary to properly identify

the consumer….” 12 C.F.R. § 1022.137(a)(2)(ii). Further, “[i]n the event that a

consumer requesting a file disclosure cannot be properly identified in accordance

with the FCRA, [a consumer report agency must] provid[e] a statement that the


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consumer’s identity cannot be verified; and directions on how to complete the

request, including what additional information or documentation will be required

to complete the request, and how to submit such information,”… or “accept the

request.” 12 C.F.R. § 1022.137(a)(2)(iii)(C), (e)(1)-(2) (promulgated as an

implementation of 15 U.S.C. § 1681g, among others).

      Here, the only FCRA violations that Plaintiffs allege arise out of violations of

Mikhail Arroyo’s FCRA rights, and so RPS can only be liable for damages to him.

The FCRA authorizes a third party to “accompany” a consumer to receive

disclosures provided that person provides “reasonable identification,” which may

include the consumer’s “written statement granting permission… to discuss the

consumer’s file in such person’s presence.” 15 U.S.C. § 1681h(d); see 15 U.S.C. §

1681b(a)(2) (“any consumer reporting agency may furnish a consumer report… in

accordance with the written instructions of the consumer to whom it relates.”). But

15 U.S.C. 1681g(a) does not give a person “a right to receive information from a

third party’s file.” Neclerio v. Trans Union LLC, 983 F. Supp. 2d 199, 219 (D. Conn.

2013) (VLB); see Oses v. Corelogic Saferent, LLC, 171 F. Supp. 3d 775, 782 (N.D. Ill.

2016) (same). And third parties do not have remedies under the FCRA—a person

who negligently or willfully fails to comply with the FCRA “with respect to any

consumer is liable to that consumer” for damages including “actual damages

sustained by the consumer.” 15 U.S.C. §§ 1681n(a),1681o(a) (emphases added).

       Plaintiffs argue that RPS violated its duty to make the required consumer

disclosures because it did not disclose Mr. Arroyo’s information to Ms. Arroyo on

behalf of Mr. Arroyo until the start of this litigation. [Dkt. 87 at 9-10]; [Dkt. 105 at 1-

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5]. RPS argues that Plaintiffs cannot show damages and because Ms. Arroyo failed

to present proper identification. The Court preliminarily addresses RPS’s argument

regarding damages, and then addresses the parties’ arguments regarding

disclosure and proper identification.

       RPS argues that Plaintiffs cannot show damages based on RPS’s conduct

throughout the disclosure process because (1) Plaintiffs have not developed

testimony from WinnResidential that Ms. Arroyo could have used the file

disclosure information to persuade WinnResidential to overlook Mr. Arroyo’s

criminal history; and (2) such testimony would not be helpful, because

WinnResidential already had the criminal record but refused to grant access to

housing until it was sued. [Dkt. 114 at 34].

      The Court denies RPS summary judgment on this basis because the relevant

facts are disputed. Plaintiffs have presented some evidence that WinnResidential

might have allowed Mr. Arroyo to move in before June 2017 after Plaintiffs provided

WinnResidential    with   details   about      Mr.   Arroyo’s   criminal   history   that

WinnResidential had located on their own. E.g. [Dkt. 116-35 at Ex. A (6/13/2017 Fact

Finding Hearing Transcript)]:20 Plaintiffs present evidence that they provided

WinnResidential with new information about Mr. Arroyo’s Pennsylvania arrest after

the CHRO Complaint and at the mediation. Id. at 68:5-71:10. Plaintiffs present

evidence that relevant decision-making WinnResidential employees did not have



20Defendants object that this affidavit is hearsay but, since the Exhibit includes
statements by WinnResidential employees with personal knowledge of the events
discussed, Court finds that the affidavit is admissible for the purposes of summary
judgment. [Dkt. 140-1 (Def’dt’s Rule 56(a)(1 Reply Statement of Facts) at ¶87].
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this information, and that WinnResidential employees considered “the crux of

issue” as to why “Mikhail Arroyo ha[d] not been allowed to move in to ArtSpace at

Windham” to be that they had not had that information. Id. at 52:14-24, 50:16-25.

But, Plaintiffs also present evidence that WinnResidential did not immediately

allow Mr. Arroyo to move in once it received his criminal records—WinnResidential

went forward with the fact-finding hearing. This is sufficient evidence for a

reasonable fact-finder to possibly but not necessarily find that (a) WinnResidential

did not have Mr. Arroyo’s criminal history;21 (b) Mr. Arroyo’s actual criminal record

would have changed Winn Residential’s decision; and (c) therefore, if RPS had

provided the Arroyos with the file disclosure earlier, Mr. Arroyo would have had a

better opportunity to enjoy the housing of his choice. Although RPS objects that

WinnResidential only permitted Mr. Arroyo to move into the complex after being

sued and settling that lawsuit, [Dkt. 140-1 at ¶87], the objection does not definitively

undermine the importance of the Mr. Arroyo’s criminal history: settlement terms




      21   The parties agree that WinnResidential suppressed the underlying
criminal records from the view of its leasing agents since 2015. [Dkt. 126-1 ¶91].
However, the parties dispute whether any other decisionmakers at WinnResidential
had Mr. Arroyo’s criminal record, and neither party offers admissible evidence on
the question, see Fed. R. Civ. P. 56(c)(2): Dkt. 116-41 (Aff. Ans. of WinnResidential
to Administrative Cmplt.) is inadmissible hearsay, see Fed. R. Evid. 802; Dkt. 114-2
(Kayani Decl.) & Dkt. 116-35 (Carmen Arroyo Decl.) were not made on the basis of
personal knowledge, see Fed. R. Evid. 602, Roberts v.Ground Handling, Inc., 499 F.
Supp. 2d 340, 360 (S.D.N.Y. 2007) (“It is axiomatic that affidavits submitted in
support of or in opposition to a summary judgment motion must ‘be made on
personal knowledge”) and [Dkt. 114-2 at Ex. D] cannot be authenticated as a copy
of a document that CoreLogic returned to WinnResidential on 4/26/2016 as claimed,
as it is a document generated on 5/3/2018, see Fed. R. Evid. 901.



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depend on the strength of the parties’ positions, for which Mr. Arroyo’s criminal

history was a factor.22

      The Court next considers the parties arguments as to “proper identification:”

whether, under the FCRA, Ms. Arroyo submitted “proper identification” for herself

as conservator for Mr. Arroyo. The Court holds that, on the undisputed facts, she

did not. See [Dkt. 101 at 10-14].23 A conservatorship certificate with an impressed

seal is necessary for “proper identification” of a Connecticut conserved person

under the FCRA. Where state law defines the validity of an identification document,

state law defines “proper identification” under the FCRA. See Menton, 2003 WL

941388. Ms. Arroyo was appointed to be Mr. Arroyo’s conservator under

Connecticut state law. Under Connecticut law, as stated plainly on the face of a

conservatorship seal itself, a conservatorship certificate “is not valid without a

probate seal impressed.” See [Dkt. 125-10 at 3]; Johnson v. Raffy's Cafe I, LLC, No.

CV106002069S, 2015 WL 2166123, at *3 (Conn. Super. Ct. Apr. 6, 2015) (finding

probate certificate valid for purposes of establishing jurisdiction “after reviewing

the probate certificate” and finding “that it contained the raised seal”). The

heightened state standard for conservatorship documents is consistent with the

FCRA’s requirement that proper identification be         “commensurate with an


      22 Plaintiffs also allege damages on the basis of Ms. Arroyo’s time and mental
annoyance spent following up, [Dkt. 126 at 30-31], but, since the FCRA claim is for
the disclosure of Mr. Arroyo’s files, and FCRA liability is only to the consumer, 15
U.S.C. §§ 1681n &1681o, the Court finds that damages to Ms. Arroyo do not support
Mr. Arroyo’s FCRA claim.
23    The Court recognizes that, in its motion for summary judgment, RPS does
not make this argument on the FCRA claim, [Dkt. 114 at 35-36], but notes that RPS
does earlier make this argument as a reason for granting it summary judgment on
the FHA disability disparate impact claim. Id. at 31.
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identifiable risk of harm arising from misidentifying the consumer” in light of the

heightened risks of identity theft for a person who would qualify to be conserved

under Connecticut law. See Conn. Gen. Stat. §§ 45a-644(c); 45a-650.

       Plaintiffs argue that courts have held that the absence of a visible embossed

seal on a copy of a document does not make it invalid, as long as the original

document carries the seal. See, e.g. [Dkt. 105 at 4-6] (citing In re Robinson v. Chase

Home Fin. LLC, 403 B.R. 497, 503 (Bankr. S.D. Oh. 2008) (applying Ohio law to

mortgage copy held in public records); Schwab v. GMAC Mortg. Corp., 333 F.3d

135, 138 (3d Cir. 2003) (applying Pennsylvania statute regarding mortgage validity,

which did not require embossment to be legible on mortgage copy); Warfield v.

Byron, 137 Fed. App’x 651, 655 (5th Cir. 2005) (finding that absence of embossed

seal on photocopy of summons did not invalidate district court’s jurisdiction);

Oliver v. NY State Police, 2019 WL 453363, at 6 (W.D.N.Y. 2019) (same); Smith v.

Nat’l Credit Sys., Inc., 2015 WL 12780446, at *2 (N.D. Ga. 2015) (lack of visible

embossed notary seal on copy of affidavit filed with court did not affect validity of

affidavit). But Plaintiffs’ cited cases are simply inapposite: none were decided in

Connecticut courts or speak to Connecticut law, none address cases in which the

document states on its face that it is not valid without an embossed seal, and none

concern proper identification for the purposes of the FCRA. If anything, the cited

cases demonstrate that it is commonly understood that impressed seals are not

visible on photocopies. See Schwab, 33 F.3d at 138 and Warfield, 137 Fed. App’x at

655.




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      The parties agree that Ms. Arroyo submitted copies of her conservatorship

certificates in June 2016 and November 2016. [Dkt. 114-1 ¶¶44, 51]. The parties

submitted copies of conservatorship certificates with their motions for summary

judgment. See [Dkt. 125-10 at 3]; [Dkt. 125-12 at 5]. Upon review, the Court holds

that no reasonable factfinder could find that that the copies of the certificates

demonstrate that the probate seal was impressed. As to Ms. Arroyo’s June 2016,

submission, in the lower left-hand side of the page, there is a shaded-in circle,

through which some white outlines are visible. [Dkt. 125-10 at 3]. White marks

which may be the remnants of a shaded-out impressed seal are not themselves an

impressed seal. As to Ms. Arroyo’s November 2016 submission, there are only

some stray marks in the same area, and nothing that establishes the presence of

an impressed seal. [Dkt 125-12 at 5]. “Although the Court can understand

[Plaintiffs]’ frustration with [RPS]’s extreme attention to detail, it is mindful that

[RPS] has a duty to protect the confidentiality and security of [Mr. Arroyo’s]

information.” Ogbon v. Beneficial Credit Servs., Inc., No. 10 CIV. 3760 PAE, 2013

WL 1430467, at *9 (S.D.N.Y. Apr. 8, 2013).

      But the Court goes on to consider whether, having found that Mr. Arroyo

could “not be properly identified in accordance with the FCRA,” RPS nevertheless

violated its duty under 15 U.S.C. § 1681g by failing to “provid[e] a statement that

the consumer’s identity cannot be verified; and directions on how to complete the

request, including what additional information or documentation will be required

to complete the request, and how to submit such information.” See 12 C.F.R. §

1022.137(a)(2)(iii)(C). The Court finds that Plaintiffs have submitted sufficient


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evidence to put into question whether RPS violated this duty: while RPS mailed Mr.

Arroyo a letter in June of 2016 asking him to contact RPS to discuss the First

Disclosure Request, [Dkt. 114-1 ¶46], it is not clear that they would have instructed

her that they could not accept the “conservatorship court paper” because of the

seal defect or because of the missing power of attorney. See [Dkt. 114-6 at 11].

Further, when Ms. Arroyo called RPS in September 2016 to discuss the status of

the disclosure, [Dkt. 114-1 ¶47], she was instructed that she had to provide a

notarized power of attorney. [Dkt. 114-6 (Barnard Decl.) at Ex. B at 3]. The Court

finds that these facts are sufficient to put into question whether RPS violated its

duty to disclose by providing directions on how to complete a disclosure request

for the period starting with RPS’s response to Ms. Arroyo’s first set of

documentation and ending with its second call trying to reach Ms. Arroyo.

Therefore, the Court grants RPS summary judgment as to Plaintiffs’ FCRA claims

before June 30, 2016 and after November 18, 2016, and denies the parties’ motions

for summary judgment as to Plaintiffs’ FCRA claims for the period from June 30,

2016 and November 18, 2016.

                    i. Willfulness

      “[A] company subject to FCRA does not act in reckless disregard of it unless

the action is not only a violation under a reasonable reading of the statute's terms,

but shows that the company ran a risk of violating the law substantially greater

than the risk associated with a reading that was merely careless.” Safeco Ins. Co.

of Am. v. Burr, 551 U.S. 47, 69, 127 S. Ct. 2201, 2215 (2007). A company’s

interpretation of the statute is objectively unreasonable when courts or the


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overseeing regulatory agencies have offered guidance that “might have warned it

away from the view it took.” Id. at 70. Where there is a “dearth of guidance” and a

“less-than-pellucid statutory text,” a misreading of the statute is not objectively

unreasonable. Safeco, 551 U.S. at 70.

      Mr. Arroyo seeks punitive damages for a “willful” violation of the FCRA. [Dkt.

1 at Counts IV and V]. Plaintiffs argue that RPS’s failure to disclose was willful

because its alleged policy of requiring a power of attorney was reckless, it failed to

correct its erroneous policy despite multiple opportunities, and the necessary

correction would have been simple. [Dkt. 87 at 10-13]. RPS argues that not

accepting certificates of conservatorship with non-visible impressed seals that

state on their face that they are not to be accepted without a seal cannot be

considered “willful” because of the lack of specification in the statute and the lack

of binding or even apposite case precedent. Plaintiffs reply that there is a disputed

question of fact as willfulness: first, RPS’s failure to accept such certificates is

unsupported by law; second, RPS failed to follow reasonable procedures for

evaluating disclosure requests by failing to escalate Ms. Arroyo’s request and by

informing her that a power of attorney was needed.

      The Court finds that, in light of the regulations and facts outlined above,

there is a disputed question of fact as to whether RPS acted “objectively

unreasonably” in failing to provide accurate directions on how to complete Ms.

Arroyo’s request on behalf of Mr. Arroyo, including what additional information or

documentation would be required to complete the request, and how to submit such

information. Therefore, the Court denies the parties’ motions for summary

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judgment as to the Plaintiff’s willfulness claims for the period from June 30, 2016

to November 18, 2016, but otherwise grants RPS summary judgment as to

Plaintiffs’ willfulness claim.

   E. Fair Housing Act Disparate Impact on the Basis of Disability

    In Count II, brought on behalf of all Plaintiffs, Plaintiffs allege that RPS’s file

disclosure “policy” of refusing to provide disclosures to conservators has a

disparate impact on disabled individuals in violation of the Fair Housing Act, 42

U.S.C. §§ 3601 et seq.

      Liability may be established under the Fair Housing Act where a “practice”

“actually or predictably results in an disparate impact on a group of persons or

creates, increases, reinforces, or perpetuates segregated patterns because of race,

color, religion, sex, handicap, familial status, or national origin.” 24 C.F.R. §

100.500(a). The Second Circuit “evaluate[s] claims that a defendant discriminated

‘because of’ a disability under the burden shifting framework established in

McDonnell Douglas Corp. v. Green, 411 U.S. 792…’” the same three-part burden

shifting framework laid out for the Plaintiffs’ previous FHA claims. Rodriguez v.

Vill. Green Realty, Inc., 788 F.3d 31, 40 n.11 (2d Cir. 2015) (quoting Mitchell v. Shane,

350 F.3d 39, 47 (2d Cir.2003) (FHA case)).

      Although “statistical proof almost always occupies center stage in a prima

facie showing of a disparate impact claim,” Robinson v. Metro-North Commuter

R.R., 267 F.3d 147, 160 (2d Cir. 2001), to inevitably require statistical proof when a

policy categorically applies to a protected class would be to equate what is real

with what is measured (not even with what is measurable!). Thus, in Cripe v. City

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of San Jose, 261 F.3d 877, 889-90 (9th Cir. 2001), the Ninth Circuit found that the

plaintiffs had shown a prima facie case without statistical analysis for purposes of

the Americans with Disabilities Act where the City’s policy required all police

officers to serve in a beat-patrol assignment before obtaining a specialized

assignment, a policy which rendered the class of disabled plaintiffs categorically

ineligible for specialized assignments. Statistics are not necessary if a challenged

policy categorically applies to a protected class. See 24 C.F.R. § 100.500(a)

(disparate impact liability may apply where a policy “predictably results in a

disparate impact”).

       But a plaintiff must “identify the targeted practice with sufficient

particularity… that defendants have adequate notice of precisely what actions” are

at issue. Rodriguez v. Bear Stearns Companies, Inc., No. 07-CV-1816 (JCH), 2009

WL 5184702, at *6 (D. Conn. Dec. 22, 2009). In Inclusive Communities Project, Inc.,

the Supreme Court held, “a disparate-impact claim that relies on a statistical

disparity must fail if the plaintiff cannot point to a defendant's policy or policies

causing that disparity.” 135 S.Ct. at 2523. It reasoned that without such

identification, defendants may be “held liable for… disparities they did not create.”

Id. What is true for claims based on a statistical disparity is even more true for

claims based on a policy’s categorical application to a protected class: if plaintiffs

cannot point to a specific policy, then there is no basis for deducing that the policy

categorically applies to a protected class, and so there is no basis for the claim at

all.




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      Plaintiffs characterize RPS’s process as: “policies and practices of (1)

refusing to allow court-appointed conservators or guardians to receive the

consumer file of the individual subject to the conservatorship or guardianship; (2)

requiring that third-parties, including court-appointed conservators or guardians,

submit a “power of attorney” executed by the consumer in order to receive the

consumer file; and/or (3) requiring that court-appointed conservators or guardians

provide more onerous documentation of their authority than an individual holding

a power of attorney designated by a consumer in order to request and receive a

consumer file.” [Dkt. 1 at ¶165].

      The Court finds that the undisputed facts have demonstrated that RPS does

not implement the first two policies but does implement the third. RPS processes

the disclosure of consumer files to third-party legal guardians acting on the

consumer’s behalf. [Dkt. 118 at ¶38]. To protect consumer privacy in the situation

where a third party is seeking a copy of a consumer’s file, RPS’s written policies

generally require a notarized power of attorney, the consumer’s name, proof of the

address to where the disclosure should be mailed, and confirmation of the last four

digits of the consumer’s Social Security number. Id. (citing [Dkt. 114-6 (Barnard

Decl.)] at ¶ 8 & Ex. A at 3). But, based on RPS’s written authentication policy, in

“any scenario” where those requirements cannot be fulfilled, the RPS employee

who is handling the file disclosure request is required to escalate the request to a

“supervisor.” [Dkt. 114-1 ¶39]. A situation in which a consumer is disabled and

cannot execute a power of attorney would require adjustment of third-party




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authentication process and supervisory review. Id. (citing [Dkt. 114-6] at ¶ 13 & Ex.

A at 3).

        The Court finds that Plaintiffs have shown sufficient evidence of a disparate

impact to prove a prima facie case. The relevant comparison is between those

disabled individuals under a conservatorship who requested disclosure from RPS

and all persons who requested disclosure through a third-party. Conserved

persons are categorically unable to execute powers of attorney.24 As RPS

acknowledges in its statement of facts, all cases in which a consumer is disabled

such that she cannot execute a power of attorney “require… supervisory review,”

adding an additional step to the process that conserved persons face. [Dkt. 114-1

¶39].

        Next, the Court considers whether RPS’s third party authentication policy

serves a legitimate and statutorily required interest of safeguarding consumer

policy. RPS argues that its requirement that a Connecticut conservator submit a

valid certificate of conservatorship is mandated by the FCRA, 15 U.S.C. §

1681h(a)(1), and, as explained above, the Court agrees. [Dkt. 114 at 31].




24 A probate court may only order an involuntary conservatorship if it is the least
restrictive means of intervention to assist the individual in managing his or her
affairs and caring for him or herself. Conn Gen. Stat. § 45a-650. Because a power
of attorney is significantly less restrictive than a conservatorship, a person with
the mental capacity to execute a power of attorney should not be involuntarily
conserved. A valid durable power of attorney that a person signed before being
conserved may, after October 1, 2016, remain valid as well. See Conn. Gen. Stat. §
45a-650.


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      The Court therefore considers whether there exists a less-discriminatory

alternative to requiring more onerous documentation from conservators. Plaintiffs

argue that there is: making the fully visible seal requirement part of a clear

documentation    policy       and   readily    communicating   that   requirement   to

conservators. [Dkt. 126 at 40-42]. But this proposed alternative is not actually an

alternative to the RPS’s conservator documentation requirement—instead, it is a

proposed addition to RPS’s conservator documentation requirement.

      Or, to put it another way: this proposed alternative demonstrates that

Plaintiffs’ targeted practice is not really RPS’s documentation requirement, but

instead RPS’s communication about its documentation requirement. And Plaintiffs

have not provided sufficient evidence that RPS’s communication about its

conservatorship documentation requirement “actually or predictably results in a

disparate impact:” Plaintiffs have not provided statistical evidence that RPS

invariably fails to communicate its conservatorship requirement, and Plaintiffs

have not provided evidence that RPS has a policy that would mean that it would

invariably fail to communicate its policy on conservatorship documentation. On

the other hand, RPS has provided evidence that, at least once, in November 2016,

it did attempt to communicate its conservatorship documentation requirement.

[Dkt. 114-1 ¶¶51-53].   25   Therefore, Plaintiffs have not demonstrated an “actual or

predictable” disparate impact.



25 RPS also argues that a disparate impact claim may not be based on a “one
isolated decision.” [Dkt. 140 at 12], [Dkt. 114 at 30] (citing Reidt v. Cty of
Trempealeau, 975 F.2d 1336, 1341 (7th Cir. 1992)). Plaintiffs are not aware of any


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      The Court understands Mr. Arroyo’s frustration with RPS’s 2016 process.

However, in light of the undisputed facts, Plaintiffs do not state an FHA claim for

disparate impact based on disability. The Court therefore grants RPS’s motion for

summary judgment as to this claim.

   F. Fair Housing Act Disparate Treatment on the Basis of Disability.

      In Count II of the Complaint, Plaintiffs claim that RPS intentionally

discriminated against Mr. Arroyo on the basis of his disability.

      The Second Circuit “evaluate[s] claims that a defendant discriminated

‘because of’ a disability under the burden shifting framework established in

McDonnell Douglas Corp. v. Green, 411 U.S. 792…’” the same three-part burden

shifting framework laid out for the Plaintiffs’ previous FHA claims.” Rodriguez v.

Vill. Green Realty, Inc., 788 F.3d 31, 40 n.11 (2d Cir. 2015) (quoting Mitchell v. Shane,

350 F.3d 39, 47 (2d Cir.2003) (FHA case)). Where plaintiffs have not “submitted any

evidence demonstrating that the non-discriminatory reasons articulated by [the

defendant] for [the challenged decisions] were mere pretexts,” summary judgment

is warranted. Lee v. ITT Standard, 268 F. Supp. 2d 315, 346 (W.D.N.Y. 2002), report




other conserved individual who has requested a file disclosure from RPS, and RPS
also has no record of any other conserved individual requesting a file disclosure.
[Dkt. 114 ¶45] [Dkt. 126-3 (Barnard Dep.) 120:15-124:24]. But the facts of Reidt
demonstrate its un-persuasiveness in this circuit: Plaintiff Debra Reidt alleged that
her employer, a sheriff’s department, violated Title VII when it denied her
application to a certain position because she was a woman. The court found that
the decision was an “isolated” one because she was the only woman who applied
to the position. Id. at 1339. This kind of reasoning—if a discriminatory policy
discourages enough individuals in a protected class, then it is not discriminatory—
has been rejected by the Second Circuit. See E.E.O.C., 186 F.3d at 119.
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and recommendation adopted in part sub nom. Estate of Lee v. ITT Standard, 268

F. Supp. 2d 356 (W.D.N.Y. 2003) (granting motion for summary judgment)

      Here, it is undisputed that RPS had in place written policies and procedures

for processing consumer file disclosure made by third parties. [Dkt. 114-1 ¶38]. It

is undisputed that RPS processed Mr. Arroyo’s claim in the way that it did because

the claim was brought by a third party, Ms. Arroyo. Id. ¶¶41, 46, 48-50. It is also

undisputed that RPS’s decision to deny Ms. Arroyo access to Mr. Arroyo’s

consumer file was based on the documentation submitted, and that the decision

was made after multiple levels of review by the legal and compliance teams. Id.

¶¶44, 46, 48-50, 52. Plaintiffs have not presented any evidence that RPS’s

application of its third-party disclosure guidelines was a mere pretext, and in fact,

has not opposed their motion for summary judgment on this claim. Therefore, the

Court grants RPS summary judgment as to this claim.

   G. Fair Housing Act Failure to Accommodate Claim

      In Count III, brought on behalf of the Arroyos, Plaintiffs allege that RPS

refused to make a “reasonable accommodation” to allow Ms. Arroyo access to Mr.

Arroyo’s consumer file in violation of 42 U.S.C.§ 3604(f)(2) and (f)(3).

      “To prove a failure-to-accommodate claim, a plaintiff must show (1) that the

plaintiff or a person who would live with the plaintiff had a handicap within the

meaning of § 3602(h); (2) that the defendant knew or reasonably should have been

expected to know of the handicap; (3) that the accommodation was likely

necessary to afford the handicapped person an equal opportunity to use and enjoy


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the dwelling; (4) that the accommodation requested was reasonable; and (5) that

the defendant refused to make the requested accommodation.” Olsen v. Stark

Homes, Inc., 759 F.3d 140, 156 (2d Cir. 2014).

      Plaintiffs argue that Mr. Arroyo had a handicap, that RPS knew of the

handicap, that the accommodation was likely necessary to afford him equal access

to housing, that his requested accommodation, that Ms. Arroyo as conservator

request and receive Mr. Arroyo’s consumer file on his behalf, was reasonable, and

that RPS refused the accommodation. [Dkt. 87 at 14-18]. Defendants argue

Plaintiffs’ reasonable accommodation claim fails for two reasons. First, Defendants

argue that Plaintiffs fail to show that, but for the accommodation, they likely were

denied an equal opportunity to enjoy the housing of their choice, as (a) RPS has

no authority to override any housing decision by WinnResidential and (b) Plaintiffs

have not supported their claim with any testimony from WinnResidential. [Dkt. 114

at 32]. Second, Defendants argue that Plaintiffs did not request a reasonable

accommodation, because the request that RPS ignore the requirement of a fully

visible seal on the conservatorship form is not reasonable. [Dkt. 114 at 33]. After

evaluating the evidence, the Court grants summary judgment on the basis of RPS’s

second argument.

       “Requested accommodations are reasonable where the cost is modest and

they do not pose an undue hardship or a substantial burden on the housing

provider.” Olsen v. Stark Homes, Inc., 759 F.3d 140, 156 (2d Cir. 2014). RPS argues

that Mr. Arroyo’s request that RPS ignore its requirement of a fully visible seal on

the conservatorship form is not reasonable, as the authenticating features are



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there for the protection of the conserved person and are legally required. [Dkt. 114

at 33] and [Dkt. 140 at 12-14]. Plaintiffs respond that a fully visible seal on the

conservatorship form is not necessary to establish “proper identification,” which

is all that is required under the FCRA, and that the seal on the forms Ms. Arroyo

submitted was visible enough. As discussed above, the Court finds that an

impressed seal on the conservatorship form is necessary to establish “proper

identification” under the FCRA, so the request to waive that requirement is not

reasonable. The Court therefore grants RPS summary judgment on this claim.

   H. CUTPA Claim

      Plaintiffs plead a claim under CUTPA, Conn. Gen. Stat. § 42-110b(a) in Count

VI of the Complaint.

      CUTPA prohibits “unfair methods of competition and unfair or deceptive

acts or practices in the conduct of any trade or commerce.” See Conn. Gen. Stat. §

42-110b. A CUTPA claim may be brought by “[a]ny person who suffers any

ascertainable loss of money or property.” See Conn. Gen. Stat. § 42-110g(a). When

analyzing the first element, whether plaintiffs alleged an unfair act, the Court must

apply the “cigarette rule” which considers whether the act: (1) “offends public

policy as it has been established by statutes, the common law, or otherwise”; (2)

is “immoral, unethical, oppressive, or unscrupulous”; or (3) “causes substantial

injury to consumers.” See Harris v. Bradley Memorial Hosp. and Health Ctr., Inc.,

296 Conn. 315, 351 (2010).

      All three criteria do not need to be satisfied to support a finding of
      unfairness. A practice may be unfair because of the degree to which it
      meets one of the criteria or because to a lesser extent it meets all three

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       . . . Thus a violation of CUTPA may be established by showing either
       an actual deceptive practice or a practice amounting to a violation of
       public policy.
        Caires v. JP Morgan Chase Bank, N.A., 880 F. Supp. 2d 288, 299 (D. Conn.

2012) (internal citation and quotation marks omitted). Consumers may prove a

CUTPA violation using either the unfairness standard or the deception standard.

See, e.g., Caldor, Inc. v. Heslin, 215 Conn. 590, 577 A.2d 1009 (1990) (deception);

Conaway v. Prestia, 191 Conn. 484, 493, 464 A.2d 847, 852 (1983) (unfairness).

       Plaintiffs move for summary judgment on the basis that undisputed facts

establish that RPS’s CrimSAFE product constitutes an unfair practice because it is

against public policy, causes substantial injury, and facilitates discrimination, [Dkt.

118 at 32-42], and that RPS’s file disclosure policies violate the FCRA. [Dkt. 87 at

18 - 19]. RPS moves for summary judgment on the basis that (1) Plaintiffs’ claim

based on CrimSAFE must fail because there is no evidence that it has engaged in

“unfair” or “deceptive acts; and (2) Plaintiffs’ claim on the basis of file disclosure

must fail because file disclosure is not part of “trade” or “commerce,” and there is

no evidence of any damages alleged caused by RPS. [Dkt. 118 at 36-38]. RPS

further opposes Plaintiffs’   CrimSAFE claim on the grounds that (a) Plaintiffs

cannot prove a violation of the FHA, (b) RPS does not “facilitate” discriminatory

conduct, and (c) the Connecticut state legislature recently failed to pass a 2019

legislative proposal to “limi[t] criminal records lookback period that a landlord may

use when evaluating the housing application of a prospective tenant,” was

defeated in the Connecticut state legislature. CT. S.B. No. 54 (2019).[Dkt. 129 at 44-

46].

       1. File Disclosure

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       The Court denies the parties’ motions for summary judgment as to Plaintiff’s

CUTPA claim on the basis of file disclosure, as there is a disputed question of

material fact regarding whether RPS’s file disclosure policies did violate 15 U.S.C.

§ 1681g. And, as the Court has previously stated, RPS’s conduct is sufficiently

related to its business to established relationship to trade or commerce. See Dkt.

41 at 32-33 (Order on Mot. to Dismiss); Nastro v. D’Onofrio, 263 F. Supp. 2d 446,

457-58 (D. Conn. 2003) (denying motion to dismiss CUTPA claim where defendants’

property transfers were sufficiently related to their underlying business to

establish a relationship to trade or commerce); see also Macomber v. Travelers

Prop. & Cas. Corp., 261 Conn. 620, 643 (2002) (explaining that CUTPA does not

require a consumer relationship). Finally, the Court has established that there is a

question of material fact as to whether Plaintiffs suffered any damages from RPS’s

actions in not disclosing Mr. Arroyo’s file. See supra Section III.F.

       2. CrimSAFE

                       i. Public Policy & Facilitation

       The Court finds that there remains a material question of fact as to whether

RPS violated CUTPA “through its CrimSAFE product, violating the Fair Housing

Act to the detriment of housing applicants with criminal records, who are

disproportionately likely to be African American or Hispanic.” See [Dkt. 1 (Compl)

¶ 226.g.].

       Conduct that violates the FHA offends Connecticut public policy and is

actionable under CUTPA. See Green v. Konover Residential Corp., No. 95CV1984,

1997 WL 736528, at *7 (D. Conn. Nov. 24, 1997) (“The Connecticut courts have read



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CUTPA broadly enough to encompass the claims of plaintiffs, which include . . .

violations of the Fair Housing Act by virtue of defendants' discriminatory repair

practices.”). Connecticut has adopted the public policy goals of the FHA. In its

Constitution, Connecticut provides that “no person shall be… subjected to

segregation or discrimination in the exercise or enjoyment of his civil … rights

because of … race, color, ancestry or national origin.” Connecticut Constitution,

Sec. 20. And, in 1990, Connecticut passed comprehensive fair housing legislation

modelled after the FHA. See Conn. Gen. Stat. § 46a-64b, et seq; see also Statement

of Senator Blumenthal, 33 S. Proc., Pt. 11, 1990 Sess. 3494 (“[t]his is landmark

legislation ... that sets out a separate fair housing act with all the standards and

assurances that exist under Federal law. Indeed, it incorporates the federal

standards into our state statute ....”). Connecticut courts construct Connecticut’s

FHA consistent with the federal courts’ interpretation of the analogous provisions

of the FHA. Comm’n on Human Rights & Opportunities v. Savin Rock Condo. Ass’n,

Inc., 273 Conn. 373, 384-85, 870 A.2d 457, 463 (2005).

      The Court cannot determine as a matter of law that RPS did or did not violate

the FHA. See Section III.B., supra. For the same reasons that there is a question of

whether RPS violated the FHA, there is a question of whether RPS violated CUTPA

as a matter of public policy or facilitation of housing providers’ discrimination:

CrimSAFE may be, but is not necessarily as a matter of law, a proximate cause of

housing discrimination against African Americans and Latinos, including Mr.

Arroyo.




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         Finally, RPS argues that the Connecticut state legislature recently failed to

pass a 2019 legislative proposal to “limi[t] criminal records lookback period that a

landlord may use when evaluating the housing application of a prospective

tenant.” [Dkt. 129 at 44-46] (citing CT. S.B. No. 54 (2019)). But, of course, “it is at

best treacherous” to rely on “congressional silence,” and there are any number of

reasons such a measure might have failed to pass. United States v. Wells, 519 U.S.

482, 496 (1997).

                           ii. Substantial Injury

         For the same reason the Court finds that there is a question as to RPS’s

proximate cause of housing denials generally, see supra Section II.B.1.i, the Court

finds that there is a question of whether RPS caused Mr. Arroyo’s housing denial.

Therefore, the Court denies Plaintiffs’ motion for summary judgment as to this

claim.

                           iii. Ascertainable Loss

         Because the Court denies Plaintiffs’ motion for summary judgment as to its

CUTPA claim based on CrimSAFE on other grounds, the Court does not address

the question of ascertainable loss.



   I. CFHC’s Damages Claim

         Alleging   that    a   particulardefendant’s   actions   have   “frustrated   the

organization [plaintiff]’s [services], with a consequent drain on resources” suffices

to allege organizational injury-in-fact.” Havens Realty Corp. v. Coleman, 455 U.S.

363, 369 (1982).      The CFHC seeks compensatory damages consisting of
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“frustration of mission” and “diversion of resources.” RPS moves for the Court to

grant it summary judgment dismissing these claims. RPS argues that the claims

are not compensable because (1) CFHC’s contemplated educational marketing

campaign is prospective and undeveloped; (2) CFHC has not demonstrated the

link between the diverted resources and RPS; and (3) any damages have been

offset by third-party awards. [Dkt. 114 at 38-44]. CFHC responds that prospective

damages may be compensated, that they have provided sufficient evidence to put

into question RPS’s responsibility for the diversion, and that third-party grants are

“collateral sources” that should not be setoff against RPS’s damages. [Dkt. 126 at

47-53]. The Court agrees with the Plaintiffs.

      In the Second Circuit, an organization’s expenses for investigation of a

particular defendant’s conduct and advocacy against that particular defendant,

including litigation expenses, demonstrate injury-in-fact through diversion of

resources. See Mental Disability Law Clinic, Touro Law Ctr. v. Hogan, 519 F. App'x

714, 717 (2d Cir. 2013) (citing Ragin v. Harry Macklowe Real Estate Co., 6 F.3d 898,

904 (2d Cir.1993)) (affirming litigation expenses demonstrate diversion-of-

resources injury in fact); Olsen v. Stark Homes, Inc., 759 F.3d 140, 158 (2d Cir.

2014) (affirming that investigation and advocacy on behalf of specific clients

demonstrates diversion-of-resources injury in fact). But, “there must be evidence

directly tying these damages to the defendant’s alleged wrongdoing.” Miami Valley

Fair Hous. Ctr., Inc. v. Connor Grp., No. 3:10-cv-83, 2015 WL 853193, at *9 (S.D. Ohio

Feb. 26, 2015) (citing Ragin, 6 F.3d at 909).     While CFHC may have received




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compensation, the sufficiency of that compensation is not established, particularly

given the fact that litigation continues long thereafter.

      Further, the Fair Housing Act authorizes the Court to award “such affirmative

action as may be appropriate.” 42 U.S.C. § 3613(c)(1); see United States v. Hylton,

944 F. Supp. 2d 176, 194 (D. Conn. 2013), aff'd, 590 F. App'x 13 (2d Cir. 2014).26 The

Court must tailor such relief to vindicate “the statute’s goals of preventing future

violations and removing lingering effects of past discrimination.” United States v.

Space Hunters, Inc., 2004 U.S. Dist. LEXIS 23699, at *22 (S.D.N.Y. Nov. 22, 2004),

aff’d in part, vacated and remanded in part on other grounds, 429 F.3d 416, 421 (2d

Cir. 2005). “To recover, a fair housing organization must establish that

expenditures in education, counseling and/or outreach are necessary to

counterbalance the effects of a defendant's discriminatory practices.” Fair Hous.

of Marin v. Combs, No. C 97-1247 MJJ, 2000 WL 365029, at *4 (N.D. Cal. Mar. 29,

2000). The Fair Housing Act is a remedial statutory scheme designed to rid the

nation of costly and destructive discriminatory housing practices and the work of

entities like CFHC is instrumental to the fulfilment of its objectives.




      26  RPS cites two out-of-circuit cases on injury-in-fact for the purposes of
standing for the proposition that CFHC cannot recover damages for its future work.
[Dkt. 114 at 38-39]. (citing Fair Hous. Council of Suburban Philadelphia v.
Montgomery Newspapers, 141 F.3d 71, 77 (3d Cir. 1998), and Chesapeake Climate
Action Network v. Exp.-Imp. Bank of the United States, 78 F. Supp. 3d 208, 232
(D.D.C. 2015)). Neither are persuasive in light of the apposite statutory and in-
circuit authority.




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      CFHC claims $82,639.93 in diversion of resources, up to $350,000 for an

educational marketing campaign to inform the public that blanket bans are illegal,

and its attorneys’ fees. [Dkt.114-5 at Ex. H]. Of its $82,639 in claimed diversion

damages, $9,447 is for CFHC’s work advocating for the Arroyos against RPS; the

remainder is for “education and outreach,” “testing,” “testing costs,” “client

work,” and “grant writing.” [Dkt. 114-5 at Ex. G ].

      The Court finds that CFHC has introduced sufficient evidence for its

damages claims to go forward. CFHC may recover for prospective damages. See

Hylton, 944 F. Supp. 2d at 194. CFHC has demonstrated clear ties between the

litigation expenses for this case and the $9,447 “CoreLogic” tab of its diversion log

to RPS to support its claim. As to the proposed marketing campaign and the

remainder of the $82,639 in diverted expenses, CFHC has introduced sufficient

evidence to demonstrate a dispute of fact as to whether those expenses “are

necessary to counterbalance the effects of a defendant's discriminatory practices,”

in light of its evidence of RPS’s marketing efforts, its evidence that housing

providers have reached out to it for guidance, [Dkt. 125-21 at 98:19-24], its evidence

that it has changed its public trainings and presentations to account for RPS’s

policies, id. at 97-111, and its evidence that it has consulted with an advertising

company on how such a campaign would be conducted, id. at 140:7-141:21.

      Finally, RPS argues that any damages owed to CFHC should be offset by the

$380,000 in grant funding CFHC has received to address criminal record tenant

screening in the housing application process. [Dkt. 114-1 ¶65]. The parties disagree

about whether the grant funds CFHC has received are better characterized as

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“recovery” for the same injury or as “collateral sources.” On the one hand, “a

plaintiff may not recover twice for the same injury…. When a plaintiff receives a

payment from one source for an injury, defendants are entitled to a credit of that

amount against any judgment obtained by the plaintiff as long as both payments

represent common damages.” Phelan v. Local 305 of United Ass'n of Journeymen,

& Apprentices of Plumbing & Pipefitting Indus. of U.S. & Canada, 973 F.2d 1050,

1063 (2d Cir. 1992). On the other hand, “[t]he weight of common law authority is

that collateral sources are not deductible from a tort damage award.” Equal

Employment Opportunity Comm'n v. Enterprise Ass'n Steamfitters Local No.

638, 542 F.2d 579, 591 (2d Cir.1976). On this basis, a Connecticut district court

found in a Fair Housing Act Case that the funds a plaintiff received from a state

agency and tax credit “were collateral sources and that the defendants are not

entitled to a set off of those amounts in the event of an award of damages by the

Court in plaintiffs' favor,” although they “ in part, defrayed expenses that are

claimed as damages suffered by plaintiff.” Valley Hous. LP v. City of Derby, No. 06-

CV-1319 TLM, 2011 WL 2144633, at *2-3 (D. Conn. May 31, 2011).

       Here, CFHC did not receive the grant funding from another “source of the

injury,” so Plaintiffs argue that the grant funding is from a “collateral source,” and

does not offset any damages that RPS may owe. This Court finds that reasoning

compelling. Funds allocated for systemic or programmatic endeavors beneficial

to the constituency of the recipient as a whole should not be diverted to the

advocacy on behalf of a single person or subset of the constituency of the entity.




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           RPS also separately argues that CFHC’s recovery in this case should be

offset by CFHC’s $13,000 recovery from the settlement with WinnResidential. [Dkt.

114 at 42] (citing SUMF 64).27 But, as Plaintiffs point out, this money was not “in

settlement of the administrative action,” but rather represented attorneys’ fees for

CFHC’s representation of the Arroyos, work that has not been claimed as

diversionary damages. [Dkt. 125-13 (Ex. 11 to Pls.’ Opp: Kemple Decl.) at ¶¶ 3-5.].

Therefore, it also does not offset any damages that RPS may owe for, particularly

for efforts which post-dated the services the award was made to compensate.

           For the reasons given above, the Court denies RPS summary judgment as

to CFHC’s compensatory damages.

     IV.      Conclusion

           For the reasons stated above, the Court holds as follows:

           Carmen Arroyo does have standing to bring claims under the FHA and under

CUTPA.




27 RPS does not cite any law regarding offsetting settlements, but it is a nuanced
question. To the question of whether non-settlign defendant’s damages should be
offset by a settlement, the Second Circuit applies a three-party standard to
determine: "First, if federal law is neither deficient nor inapplicable, it will apply.
Second, if federal law does not apply, state law does apply, unless, third, state law
would be inconsistent with the Constitution and laws of the United States." Restivo
v. Hessemann, 846 F.3d 547, 582 (2d Cir. 2017). Further, here, CFHC did not sue
RPS and WinnResidential in the same action, so there is less of an argument for
applying any settlement as an offset.
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      The Court denies both parties summary judgment as to the FHA claims on

the basis of race and disability, and as to the CUTPA claims. These claims will

proceed to trial.

      The Court grants RPS’s motion for summary judgment as to the FHA claim

for disparate claim on the basis of disability, the FHA claim for disparate treatment

on the basis of disability, and the FHA failure to accommodate claim. The Court

grants RPS’s motion for summary judgment as to Mr. Arroyo’s FCRA claims for

the period from April 26, 2016 to June 30, 2016, and after November 18, 2016. The

Court denies the parties’ motions for summary judgment as to Mr. Arroyo’s FCRA

claims for the period from June 30, 2016 to November 18, 2016, and also denies the

parties’ motions for summary judgment as to whether its actions were “willful”

under the FCRA for this period. These claims will proceed to trial.

      The Court denies RPS summary judgment as to CFHC’s compensatory

damages, so their claims will proceed to trial.

SO ORDERED.

                                       __________/s/______________
                                       Hon. Vanessa L. Bryant
                                       United States District of Connecticut




Dated: August 7, 2020 at Hartford, Connecticut




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